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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION
                                         www.flsb.uscourts.gov

    In re:                                                                  Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,1                                   Case No.: 22-17842-PDR

             Debtors.                                                       (Jointly Administered)
                                                                 /

                  NOTICE OF FILING OF REVISED PROPOSED SALE ORDER

        PLEASE TAKE NOTICE that, on January 27, 2023, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion For an Order
(I) Approving (A) Bidding Procedures for the Sale of Substantially All of the Debtors’ Assets,
(B) Procedures for the Debtors’ Assumption and Assignment of Certain Executory Contracts and
Unexpired Leases, (C) the Form and Manner of Notice of the Sale Hearing, Assumption
Procedures, and Auction Results, (D) Dates for an Auction and Sale Hearing, (E) the Sale of
Substantially All of the Debtors’ Assets Free and Clear of All Claims, Liens, Liabilities, Rights,
Interests and Encumbrances, and (F) the Debtors’ Assumption and Assignment of Certain
Executory Contracts and Unexpired Leases, (II) Authorizing the Debtors to Provide Bid
Protections, and (III) Granting Related Relief [ECF No. 707] (the “Motion”).2

       PLEASE TAKE FURTHER NOTICE that, on February 24, 2023, the Court entered an
order [ECF No. 854] (the “Bidding Procedures Order”) granting certain of the relief sought in the
Motion, including, among other things, approving (i) the Bidding Procedures, which establish the
key dates and times related to the Transaction, and (ii) the Assumption and Assignment
Procedures.

       PLEASE TAKE FURTHER NOTICE that concurrently with the filing of this notice, the
Debtors are filing a notice designating Blast Asset Acquisition LLC as the Successful Bidder.

        PLEASE TAKE FURTHER NOTICE that the Sale Hearing to consider approval of the
Sale Transaction and the transfer of the Assets free and clear of all liens, claims, interests, and
encumbrances to the Successful Bidder in accordance with section 363(f) of the Bankruptcy Code
will be held before the Honorable Judge Peter D. Russin, United States Bankruptcy Judge for the
Southern District of Florida, at the Bankruptcy Court, 299 E. Broward Blvd., Courtroom 112, Fort




1
    The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal tax
    identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO
    Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC
    (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc. (8019).
2
    Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion.
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Lauderdale, FL 33301 on July 13, 2023 at 1:30 p.m. (Prevailing Eastern Time).3 The Sale
Hearing may be adjourned from time to time without further notice to creditors or other parties in
interest other than by announcement of the adjournment in open court or by notice filed on the
docket in these chapter 11 cases.

        PLEASE TAKE FURTHER NOTICE that that any objections to: (i) the identity of the
Successful Bidder, and/or (ii) adequate assurance of future performance by the Successful Bidder,
in each case, must be filed with the Court no later than 4:00 p.m. (Prevailing Eastern Time) on
July 7, 2023.

        PLEASE TAKE FURTHER NOTICE that, on March 3, 2023, the Debtors filed that
certain Notice of Filing of Proposed Sale Order [ECF No. 896] (the “Proposed Sale Order”).

        PLEASE TAKE FURTHER NOTICE that subsequent to filing the Proposed Sale Order
the Debtors made certain modifications thereto as reflected in the revised form of the Proposed
Sale Order (the “Revised Proposed Sale Order”) attached hereto as Exhibit $. For the
convenience of the Court and other interested parties attached hereto as Exhibit % is a
blackline showing the changes made from the Proposed Sale Order to the Revised Proposed Sale
Order.

        PLEASE TAKE FURTHER NOTICE that the Debtors intend to seek entry of the
Revised Proposed Sale Order at the Sale Hearing. The Debtors reserve all rights to revise the
Revised Proposed Sale Order at or prior to the Sale Hearing. Copies of the Revised Proposed Sale
Order, the Bidding Procedures, the Bidding Procedures Order, and other relevant documents
may be examined by interested parties free of charge at the website established for these
chapter 11 cases by the Debtors’ court-approved noticing, claims, and solicitation agent,
Stretto, Inc., at https://cases.stretto.com/VitalPharmaceuticals. Parties interested in receiving
more information regarding the sale of the Assets and/or copies of any related documents,
including the Revised Proposed Sale Order, may make a written request to counsel to the
Debtors, Latham & Watkins LLP, 555 Eleventh Street, NW, Suite 1000, Washington, D.C.
20004 (Attn: Andrew Sorkin (andrew.sorkin@lw.com)) and Latham & Watkins LLP, 1271
Avenue of the Americas, New York, NY                       10020      (Attn:     Liza     Burton
(liza.burton@lw.com) and Jonathan Weichselbaum (jon.weichselbaum@lw.com)).




3
    To the extent the Sale Hearing occurs virtually, participation instructions will be provided on the agenda filed on
    the docket prior to the Sale Hearing.

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    Dated: June 28, 2023                                     Respectfully submitted,
           Miami, Florida
                                                             /s/ Jordi Guso
    George A. Davis (admitted pro hac vice)                  Jordi Guso
    Liza L. Burton (admitted pro hac vice)                   Florida Bar No. 863580
    Jonathan J. Weichselbaum (admitted pro hac vice)         Michael J. Niles
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    – and –

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    – and –

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                          Co-Counsel for the Debtors and Debtors in Possession




4
    Not admitted in Illinois. Admitted in New York.

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                        Exhibit A

               Revised Proposed Sale Order
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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION
                                         www.flsb.uscourts.gov

    In re:                                                            Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,                              Case No.: 22-17842-PDR

             Debtors.1                                                (Jointly Administered)
                                                          /

            ORDER (I) AUTHORIZING AND APPROVING (A) THE SALE OF
         SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR
      OF ALL LIENS, CLAIMS, AND ENCUMBRANCES AND (B) THE ASSUMPTION
     AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
    LEASES IN CONNECTION THEREWITH, AND (II) GRANTING RELATED RELIEF

             Upon the motion [ECF No. 707] (the “Motion”)2 of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) for entry of an order (this “Sale Order”),

(i) authorizing (a) the sale of substantially all of the Debtors’ assets free and clear of all claims,

liens, liabilities, rights, interests, and encumbrances (except for Assumed Liabilities and Permitted

Encumbrances), and (b) the assumption and assignment of certain of the Debtors’ executory

contracts and unexpired leases, and (ii) granting related relief; and this Court having entered the

Order (I) Approving Bidding Procedures, (II) Authorizing the Debtors to Provide Bid Protections,

and (III) Granting Related Relief [ECF No. 854] (the “Bidding Procedures Order”); and Blast

Asset Acquisition LLC, the buyer (the “Buyer”), having been selected as the Successful Bidder;

and upon the Buyer and certain of the Debtors having entered into that certain Asset Purchase


1
      The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
      tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (“Vital Pharmaceuticals”) (8430); (ii) Bang Energy
      Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC
      (9394); (v) Quash Seltzer, LLC (“Quash Seltzer”) (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital
      Pharmaceuticals International Sales, Inc. (8019).
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in, as applicable,
      the Asset Purchase Agreement (as defined herein), or if not defined therein, the Motion, or the Bidding Procedures
      Order (as defined herein).
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Agreement, dated as of June 28, 2023, a copy of which is attached hereto as Exhibit A (as may be

amended, modified, or supplemented in accordance with the terms of this Sale Order and such

agreement, the “Asset Purchase Agreement”); and this Court having reviewed the 9019 Motion;

and this Court having found that the relief requested in the Motion is in the best interests of the

Debtors, their estates, their creditors, and other parties in interest; and this Court having found that

the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

and no other notice need be provided; and this Court having reviewed the Motion and a hearing

having been held to consider the relief requested in the Motion (the “Sale Hearing”); and this Court

having determined that the legal and factual bases set forth in the Motion and evidence adduced at

the Sale Hearing or otherwise establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court and at the Sale Hearing; and after due deliberation thereon; and

good and sufficient cause appearing therefor,

        THE COURT HEREBY FINDS THAT:3

                                               JURISDICTION

        A.       This Court has jurisdiction to hear and determine the Motion under 28 U.S.C.

§§ 157 and 1334. This is a core proceeding under 28 U.S.C. § 157(b).

        B.       Venue of the Debtors’ above-captioned chapter 11 cases (these “Chapter 11 Cases”)

and the Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409.

        C.       This Sale Order constitutes a final order within the meaning of 28 U.S.C. § 158(a).

Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent necessary under

Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil Procedure, as made applicable


3
    The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
    the extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To
    the extent any of the following conclusions of law constitute findings of fact, they are adopted as such.



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by Bankruptcy Rule 7054, this Court expressly finds that there is no just reason for delay in the

implementation of this Sale Order, and expressly directs entry of this Sale Order as set forth herein.

        D.       The statutory predicates for the relief sought in the Motion are sections 105(a), 363,

and 365 of the Bankruptcy Code, as supplemented by Bankruptcy Rules 2002, 6004, 6006, 9007,

9008, and 9014, and the applicable Local Rules.

                     NOTICE OF THE SALE AND THE CURE PAYMENTS

        E.       As evidenced by the affidavits and/or certificates of service filed with the Court,4

proper, timely, adequate, and sufficient notice of, inter alia, the Motion, the Bidding Procedures,

the Assumption and Assignment Procedures, the Asset Purchase Agreement, the sale of the

Purchased Assets pursuant to the terms of the Asset Purchase Agreement and this Sale Order (the

“Sale”), the Sale Hearing, and all deadlines related thereto, has been provided in accordance with

sections 363 and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, 9007,




4
    Such affidavits and/or certificates of service were filed by the Debtors at [ECF No. 710] (certificate of service
    regarding the Motion); [ECF No. 735] (certificate of service regarding hearing on Motion); [ECF No. 841]
    (certificate of service regarding revised Bidding Procedures Order and declaration in support of Bidding
    Procedures); [ECF No. 847] (certificate of service regarding extension of certain transaction deadlines); [ECF
    No. 909] (certificate of publication of Sale Notice); [ECF No. 911] (certificate of service of Bidding Procedures
    Order and Sale Notice); [ECF No. 927] (certificate of service of initial Assumption Notice (as defined herein)
    and proposed form of Sale Order); [ECF No. 1014] (certificate of service of first supplemental Assumption
    Notice); [ECF No. 1042] (certificate of service of Sale Notice); [ECF No. 1125] (certificate of service of Sale
    Notice and initial Assumption Notice); [ECF No. 1155] (certificate of service of initial Assumption Notice); [ECF
    No. 1186] (certificate of service of initial Assumption Notice and Sale Notice); [ECF No. 1252] (certificate of
    service of initial Assumption Notice and Sale Notice); [ECF No. 1305] (certificate of service of extension of
    transaction deadlines); [ECF No. 1360] (certificate of service of Sale Order and initial Assumption Notice); [ECF
    No. 1383] (certificate of service of Sale Notice and initial Assumption Notice); [ECF No. 1392] (certificate of
    service of Sale Notice and extension of certain transaction milestones); [ECF No. 1403] (certificate of service of
    notice of adjournment of Auction); [ECF No. 1414] (certificate of service of Sale Notice and extension of certain
    transaction milestones); [ECF No. 1439] (certificate of service of extension of certain transaction milestones and
    adjournment of Auction); [ECF No. 1462] (certificate of service of extension of certain transaction milestones
    and adjournment of Auction); [ECF No. 1464] (certificate of service of extensions of certain transaction
    milestones, including the Sale Hearing); [ECF No. 1493] (supplemental certificate of service of notice of
    adjournment of Auction and extensions of certain transaction milestones, including the Sale Hearing); and [ECF
    No. 1541] (certificate of service of notice of adjournment of Sale Hearing).


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9008, and 9014, and in compliance with the Bidding Procedures Order, to all parties required to

receive such notice.

       F.      The Debtors served the Notice of Proposed Sale, Bidding Procedures, Auction, and

Sale Hearing [ECF No. 856] (the “Sale Notice”) on all parties required to receive such notice

under the Bidding Procedures Order and applicable rules, published such notice in The New York

Times and posted the Sale Notice on the Debtors’ Case Website. Such publication of the Sale

Notice conforms to the requirements of the Bidding Procedures Order and Bankruptcy Rules

2002(l) and 9008 and was reasonably calculated to provide notice to any affected party and afford

any affected party the opportunity to exercise any rights related to the Motion and the relief granted

by this Sale Order. Service and publication of the Sale Notice was appropriate and reasonably

calculated to provide all interested parties with timely and proper notice of the sale of the

Purchased Assets, including the proposed sale of the Purchased Assets free and clear of all liens,

claims, encumbrances, and interests (other than Assumed Liabilities and Permitted

Encumbrances), the Sale, the Bidding Procedures, and the Sale Hearing.

       G.      The Debtors served the (i) Notice of (I) Executory Contracts and Unexpired Leases

that May be Assumed and Assigned in Connection with a Sale of the Debtors’ Assets and (II) the

Proposed Cure Costs with Respect Thereto [ECF No. 893]; (ii) Supplemental Notice of

(I) Executory Contracts and Unexpired Leases that May be Assumed and Assigned in Connection

with a Sale of the Debtors’ Assets and (II) the Proposed Cure Costs with Respect Thereto [ECF

No. 995]; and (iii) Second Supplemental Notice of (I) Executory Contracts and Unexpired Leases

that May be Assumed and Assigned in Connection with a Sale of the Debtors’ Assets and (II) the

Proposed Cure Costs with Respect Thereto [ECF No. 1460] (together, the “Assumption Notice”)

on each of the counterparties to the Assumed Agreements and Assumed Real Property Leases in




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accordance with the Assumption and Assignment Procedures and the Bidding Procedures Order.

The service of the Assumption Notice was sufficient under the circumstances and in full

compliance with the Assumption and Assignment Procedures and the Bidding Procedures Order,

and no further notice need be provided in respect of the Debtors’ assumption and assignment to

the Buyer of the Assumed Agreements and Assumed Real Property Leases that have been (or may

be) selected by the Buyer to be assumed and assigned in connection with the Sale5 or the Cure

Costs (as defined in the Assumption Notice or as otherwise agreed by the Buyer and the

counterparty to any Assumed Agreements or Assumed Real Property Leases). All counterparties

to the Assumed Agreements and Assumed Real Property Leases have had an adequate opportunity

to object to the assumption and assignment of the Assumed Agreements and Assumed Real

Property Leases and the Cure Costs. Service of the Assumption Notice was appropriate and

reasonably calculated to provide all interested parties with timely and proper notice of the potential

assumption and assignment of the Assumed Agreements and Assumed Real Property Leases in

connection with the sale of the Purchased Assets and the related Cure Costs.

        H.      The Debtors served the Notice of Auction Cancellation and Successful Bidder [ECF

No. [ z ]] (the “Designation Notice”) on all parties required to receive such notice under the

Bidding Procedures Order and applicable rules. Because only one Qualified Bid was received for

substantially all of the Debtors’ assets, which was submitted by the Buyer, no Auction was

conducted.

        I.      The notice described in the foregoing paragraphs is due, proper, timely, adequate,

and sufficient notice of the Motion, the Bidding Procedures, the Sale Hearing, the assumption and




5
    For avoidance of doubt, as used herein, Assumed Agreements and Assumed Real Property Leases shall only
    include those Assumed Agreements and Assumed Real Property Leases to which a Debtor is a party.


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assignment of the Assumed Agreements and Assumed Real Property Leases, the Sale, and the

entry of this Sale Order, and has been provided to all parties in interest. Such notice was, and is,

good, sufficient, and appropriate under the circumstances of these Chapter 11 Cases, provided a

fair and reasonable opportunity for parties in interest to object, and to be heard, with respect

thereto, and was timely provided in accordance with sections 363 and 365 of the Bankruptcy Code,

Bankruptcy Rules 2002, 6004, 6006, 9007, 9008, and 9014, and the applicable Local Rules.

Accordingly, no other or further notice with respect to such matters is necessary or shall be

required.

                                     BUSINESS JUDGMENT

        J.      The Debtors have demonstrated good, sufficient, and sound business purposes and

justifications for, and compelling circumstances to promptly consummate, the Sale and the other

transactions contemplated by the Asset Purchase Agreement and related documents (together with

the Asset Purchase Agreement, the “Transaction Documents”), including, without limitation, the

assumption, assignment, and/or transfer of the Assumed Agreements and Assumed Real Property

Leases (collectively, the “Transaction”) pursuant to sections 105, 363, and 365 of the Bankruptcy

Code, prior to and outside of a plan of reorganization, and such action is an appropriate exercise

of the Debtors’ business judgment and in the best interests of the Debtors, their estates, and their

creditors. Such business reasons include, but are not limited to, the fact that: (i) there is substantial

risk that the Debtors will lose access to the financing necessary to maintain their day-to-day

business operations, including, among other reasons, the impending maturity of the DIP Facility;

(ii) the Asset Purchase Agreement and the Closing present the best opportunity to maximize the

value of the Debtors’ estates; and (iii) unless the Sale is concluded expeditiously as provided for

in this Sale Order and pursuant to the Asset Purchase Agreement, potential creditor recoveries may

be substantially diminished.


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                     GOOD FAITH OF THE BUYER; NO COLLUSION

       K.      The Buyer is purchasing the Purchased Assets in good faith and is a good faith

purchaser within the meaning of section 363(m) of the Bankruptcy Code, and therefore is entitled

to, and granted pursuant to paragraph 35 below, the full rights, benefits, privileges, and protections

of that provision, and has otherwise proceeded in good faith in all respects in connection with the

Transaction in that, inter alia: (i) the Buyer recognized that the Debtors were free to deal with any

other party interested in acquiring the Purchased Assets; (ii) the Buyer complied with the

provisions in the Bidding Procedures Order; (iii) the Buyer agreed to subject its bid to the

competitive bidding procedures set forth in the Bidding Procedures Order; (iv) all payments to be

made by the Buyer and other agreements or arrangements entered into by the Buyer in connection

with the Sale have been disclosed; and (v) the negotiation and execution of the Asset Purchase

Agreement and the other Transaction Documents were at arms’ length and in good faith.

       L.      None of the Debtors, the Buyer, any other party in interest, or any of their respective

Representatives has engaged in any conduct that would cause or permit the Asset Purchase

Agreement or any of the Transaction Documents, or the consummation of the Transaction, to be

avoidable or avoided, or for costs or damages to be imposed, under section 363(n) of the

Bankruptcy Code, or has acted in bad faith or in any improper or collusive manner with any Person

(as defined in the Asset Purchase Agreement) in connection therewith.

                         HIGHEST OR OTHERWISE BEST OFFER

       M.      In accordance with the Bidding Procedures Order, the Asset Purchase Agreement

was deemed a Qualified Bid for the Purchased Assets.

       N.      The Debtors conducted a competitive marketing and sale process in accordance

with, and have otherwise complied in all material respects with, the Bidding Procedures Order,




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and accordingly have afforded a full, fair, and reasonable opportunity for any Person to make a

higher or otherwise better offer to purchase the Purchased Assets.

       O.      The Asset Purchase Agreement constitutes the highest or otherwise best offer for

the Purchased Assets and represents a fair and reasonable offer to purchase the Purchased Assets

under the totality of circumstances of these Chapter 11 Cases.

       P.      The Transaction described in the Asset Purchase Agreement will provide a greater

benefit to the Debtors, their estates, and their creditors than any alternative transaction.

                                NO FRAUDULENT TRANSFER

       Q.      The Asset Purchase Agreement and the other Transaction Documents were not

entered into, and the Transaction is not being consummated, for the purpose of hindering, delaying,

or defrauding creditors of the Debtors under applicable law, and none of the parties to the Asset

Purchase Agreement or parties to any of the other Transaction Documents are consummating the

Transaction with any fraudulent or otherwise improper purpose. The purchase price for the

Purchased Assets constitutes reasonably equivalent value, fair consideration and fair value for the

conveyance of such Purchased Assets under the Bankruptcy Code, the Uniform Fraudulent

Transfer Act, the Uniform Voidable Transactions Act, the Uniform Fraudulent Conveyance Act,

and any other applicable laws of the United States, any state, territory, or possession, the District

of Columbia or any applicable foreign laws.

                                   VALIDITY OF TRANSFER

       R.      The Debtors have full corporate power and authority (i) to seek approval of and

perform all of their obligations under the Asset Purchase Agreement and the other Transaction

Documents; and (ii) to consummate the Transaction. Subject to the entry of this Sale Order, no

further consents or approvals are required for the Debtors to consummate the Transaction or

otherwise perform their obligations under the Transaction Documents, except in each case as


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otherwise expressly set forth in the Final DIP Order (which consents or approvals have already

been obtained),6 the Asset Purchase Agreement, or the other applicable Transaction Documents.

        S.       The Debtors’ rights, title, and interest in the Purchased Assets constitute property

of the Selling Entities’ bankruptcy estates and title thereto is vested in their estates within the

meaning of section 541(a) of the Bankruptcy Code. As of the date of the closing of the Transaction

(“Closing,” and such date, the “Closing Date”), the transfer of the Purchased Assets to the Buyer,

including, without limitation, the assumption, assignment, and transfer of the Assumed

Agreements and Assumed Real Property Leases, will be a legal, valid, and effective transfer

thereof, and will vest the Buyer with good and marketable title to, and all right, title, and interest

in and to the Purchased Assets, free and clear of all Interests (as defined below) except for Assumed

Liabilities and Permitted Encumbrances accruing or arising any time prior to the Closing Date,

except as expressly set forth in the Asset Purchase Agreement.

                                   SECTION 363(F) IS SATISFIED

        T.       The Buyer would not have entered into the Asset Purchase Agreement and would

not consummate the transaction contemplated thereby if the sale of the Purchased Assets, including

the assumption, assignment, and transfer of the Assumed Agreements and Assumed Real Property

Leases to the Buyer, were not free and clear of all Interests of any kind or nature whatsoever

(except for Assumed Liabilities and Permitted Encumbrances), or if the Buyer or any of its

affiliates, subsidiaries, or any of its Representatives would, or in the future could, be liable for any

such Interests (except for Assumed Liabilities and Permitted Encumbrances).




6
    The “Final DIP Order” means the Final Order (I) Approving Postpetition Financing, (II) Authorizing Use Of
    Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting
    Adequate Protection, (V) Modifying Automatic Stay, and (VI) Granting Related Relief entered on January 12,
    2023 [ECF No. 638].


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       U.      The Debtors may sell or otherwise transfer the Purchased Assets free and clear of

all Interests (except for Assumed Liabilities and Permitted Encumbrances) to the extent set forth

herein because, in each case, one or more of the standards set forth in section 363(f)(1)-(5) of the

Bankruptcy Code has been satisfied. Those holders of Interests against the Debtors, their estates,

or any of the Purchased Assets who did not object, or who withdrew their objection to the Sale or

the Motion, are deemed to have consented thereto pursuant to section 363(f)(2) of the Bankruptcy

Code. Those holders of such Interests who did object fall within one or more of the other

subsections of section 363(f) and are adequately protected by the terms of this Sale Order,

including, as applicable, by having their Interests, if any, attach to the portion of the Sale Proceeds

(as defined below) attributable to the Purchased Assets in which such creditor alleges or asserts an

Interest, in the same order of priority, with the same validity, force, and effect, that such creditor

had against the Purchased Assets immediately prior to consummation of the Sale, subject to any

claims and defenses the Debtors and their estates may possess with respect thereto.

       V.      As used in this Sale Order, the terms “Interest” and “Interests” include all of the

following, in each case, to the extent against or with respect to the Debtors, or in, on, or against,

or with respect to any of the Purchased Assets: liens (including as defined in section 101(37) of

the Bankruptcy Code, and whether consensual, statutory, possessory, judicial, or otherwise),

claims (as defined in section 101(5) of the Bankruptcy Code) (“Claims”), debts (as defined in

section 101(12) of the Bankruptcy Code), encumbrances, obligations, liabilities, demands,

guarantees, actions, suits, defenses, deposits, credits, allowances, options, rights, restrictions,

limitations, contractual commitments, or interests of any kind or nature whatsoever, whether

known or unknown, choate or inchoate, filed or unfiled, scheduled or unscheduled, noticed or

unnoticed, recorded or unrecorded, perfected or unperfected, allowed or disallowed, contingent or




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noncontingent, liquidated or unliquidated, matured or unmatured, material or non-material,

disputed or undisputed, whether arising prior to, on, or subsequent to, the commencement of these

Chapter 11 Cases, and in each case, whether imposed by agreement, understanding, law, equity,

or otherwise, including, but not limited to: (i) mortgages, security deeds, deeds of trust, pledges,

charges, security interests, levies, hypothecations, encumbrances, easements, servitudes, leases,

subleases, licenses, rights-of-way, encroachments, restrictive covenants, restrictions on

transferability, voting, sale, transfer or other similar restrictions, rights of setoff (except for setoffs

validly exercised before the Petition Date, or preserved in a timely filed proof of claim or motion

filed with the Court), rights of use or possession, conditional sale arrangements, deferred purchase

price obligations, profit sharing interest, or any similar rights; (ii) all Claims, including, without

limitation, all rights or causes of action (whether in law or equity), proceedings, warranties,

guarantees, indemnities, rights of recovery, setoff (except for setoffs validly exercised before the

Petition Date, or preserved in a timely filed proof of claim or motion filed with the Court),

indemnity or contribution, obligations, demands, restrictions, indemnification claims, or liabilities

relating to any act or omission of the Debtors or any other Person, consent rights, options, contract

rights, covenants, and interests of any kind or nature whatsoever (known or unknown, matured or

unmatured, accrued, or contingent and regardless of whether currently exercisable), whether

arising prior to or subsequent to the commencement of these Chapter 11 Cases, and whether

imposed by agreement, understanding, law, equity, or otherwise; (iii) all debts, liabilities,

obligations, contractual rights and claims, including labor, employment, and pension claims;

(iv) any rights that purport to give any party a right or option to effect any forfeiture, modification,

right of first offer or first refusal, or consents, or termination of the Debtors’ or the Buyer’s interest

in the Purchased Assets, or any similar rights; (v) any rights under labor or employment




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agreements; (vi) any rights under pension, multiemployer plan (as such term is defined in

section 3(37) or section 4001(a)(3) of the Employment Retirement Income Security Act of 1974

(as amended, “ERISA”)), health or welfare, compensation or other employee benefit plans,

agreements, practices, and programs, including, without limitation, any pension plans of the

Debtors or any multiemployer plan to which the Debtors have at any time contributed to or had

any liability or potential liability; (vii) any other employee claims related to worker’s

compensation, occupation disease, or unemployment or temporary disability, including, without

limitation, claims that might otherwise arise under or pursuant to (a) ERISA, (b) the Fair Labor

Standards Act, (c) Title VII of the Civil Rights Act of 1964, (d) the Federal Rehabilitation Act of

1973, (e) the National Labor Relations Act, (f) the Age Discrimination and Employment Act of

1967 and the Age Discrimination in Employment Act, each as amended, (g) the Americans with

Disabilities Act of 1990, (h) the Consolidated Omnibus Budget Reconciliation Act of 1985, as

amended, including, without limitation, the requirements of Part 6 of Subtitle B of Title I of ERISA

and Section 4980B of the Internal Revenue Code of any similar state law, (i) state discrimination

laws, (j) state unemployment compensation laws or any other similar state laws, (k) any other state

or federal benefits or claims relating to any employment with the Debtors or any of their

predecessors, or (l) the WARN Act (29 U.S.C. §§ 2101, et seq.) or any state or other laws of similar

effect; (viii) any bulk sales or similar law; (ix) any tax statutes or ordinances or other laws of

similar effect, including, without limitation, the Internal Revenue Code of 1986, as amended, and

any taxes arising under or out of, in connection with, or in any way relating to the operation of the

Purchased Assets before the closing of a Sale; (x) any unexpired and executory contract or

unexpired lease to which the Debtors are a party that is not an Assumed Agreement or Assumed

Real Property Lease; (xi) any other excluded liabilities under the Asset Purchase Agreement; and




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(xii) Interests arising under or in connection with any acts, or failures to act, of the Debtors or any

of their predecessors, affiliates, or subsidiaries, including, but not limited to, Interests arising under

any doctrines of successor liability (to the greatest extent permitted by applicable law), or

transferee or vicarious liability, violation of the Securities Act, the Exchange Act, or other

applicable securities laws or regulations, breach of fiduciary duty, or aiding or abetting breach of

fiduciary duty, or any similar theories under applicable law or otherwise.

                        NOT A SUCCESSOR; NOT A SUB ROSA PLAN

        W.      The Buyer is not, and shall not be deemed to, as a result of any action taken in

connection with the Transaction (i) be a successor to or a mere continuation or substantial

continuation (or other such similarly situated party) to the Debtors or their estates; or (ii) have, de

facto or otherwise, merged or consolidated with or into the Debtors.

        X.      The Sale does not constitute a de facto plan of reorganization or liquidation or an

element of such a plan for the Debtors, as it does not and does not propose to impermissibly

restructure the rights of the Debtors’ creditors nor impermissibly dictate the terms of a chapter 11

plan for the Debtors.

        ASSUMPTION, ASSIGNMENT AND/OR TRANSFER OF THE ASSUMED
            AGREEMENTS AND ASSUMED REAL PROPERTY LEASES

        Y.      The Debtors have demonstrated that (i) it is an exercise of their sound business

judgment to assume and assign the Assumed Agreements and Assumed Real Property Leases to

the Buyer in each case in connection with the consummation of the Transaction, and (ii) the

assumption and assignment of the Assumed Agreements and Assumed Real Property Leases to

the Buyer is in the best interests of the Debtors, their estates, their creditors, and other parties in

interest. The Assumed Agreements and Assumed Real Property Leases being assigned to the

Buyer are an integral part of the Purchased Assets being purchased by the Buyer and, accordingly,



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such assumption, assignment and cure of any defaults under the Assumed Agreements and

Assumed Real Property Leases are reasonable and enhance the value of the Debtors’ estates. Each

and every provision of the documents governing the Purchased Assets or applicable non-

bankruptcy law that purports to prohibit, restrict, or condition, or could be construed as prohibiting,

restricting, or conditioning assignment of any of the Purchased Assets, if any, have been or will be

satisfied or are otherwise unenforceable under section 365 of the Bankruptcy Code. Any non-

Debtor counterparty to an Assumed Agreement or Assumed Real Property Lease that has not filed

with this Court an objection to such assumption and assignment in accordance with the terms of

the Motion and the Assumption Notice is deemed to have consented to such assumption and

assignment.

          Z.     To the extent necessary or required by applicable law, the Debtors (or the Buyer on

behalf of the Debtors) has or will have as of the Closing Date (i) cured, or provided adequate

assurance of cure, of any default existing prior to the Closing Date with respect to the Assumed

Agreements and Assumed Real Property Leases, within the meaning of sections 365(b)(1)(A) and

365(f)(2)(A) of the Bankruptcy Code, and (ii) provided compensation, or adequate assurance of

compensation, to any party for any actual pecuniary loss to such party resulting from such default,

within the meaning of section 365(b)(1)(B) of the Bankruptcy Code. Subject to the terms of this

Sale Order, and except as otherwise determined by separate order of the Court after the date hereof,

the respective Cure Costs set forth on Exhibit B hereto are the sole amounts necessary under

sections 365(b)(1)(A) and 365(f)(2)(A) of the Bankruptcy Code to cure all such monetary defaults

and pay all actual pecuniary losses under the Assumed Agreements and Assumed Real Property

Leases.




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       AA.     The promise of the Buyer to perform (and the Buyer’s financial wherewithal to

perform) the obligations first arising under the Assumed Agreements and Assumed Real Property

Leases after their assumption and assignment to the Buyer constitutes adequate assurance of future

performance within the meaning of sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy

Code to the extent that any such assurance is required and not waived by the counterparties to such

Assumed Agreements and Assumed Real Property Leases. Except for those objections and other

disputes listed as adjourned on Exhibit C (collectively, the “Adjourned Objections”), any

objections to the foregoing, the determination of any Cure Costs, or otherwise related to or in

connection with the assumption, assignment, or transfer of any of the Assumed Agreements and

Assumed Real Property Leases to the Buyer are hereby overruled on the merits or otherwise treated

as set forth in paragraph 3 below. Those non-Debtor counterparties to Assumed Agreements and

Assumed Real Property Leases who did not object to the assumption, assignment, or transfer of

their applicable Assumed Agreement or Assumed Real Property Lease, or to their applicable Cure

Cost, are deemed to have consented thereto for all purposes of this Sale Order. All rights of the

parties with respect to the issues raised in the Adjourned Objections are preserved.

             COMPELLING CIRCUMSTANCES FOR AN IMMEDIATE SALE

       BB.     Time is of the essence in consummating the Transaction. In order to maximize the

value of the Purchased Assets, it is essential that the sale and assignment of the Purchased Assets

occur within the time constraints set forth in the Asset Purchase Agreement. This Sale Order

constitutes a final order within the meaning of 28 U.S.C. § 158(a). Notwithstanding Bankruptcy

Rules 6004(h) and 6006(d), and to any extent necessary under Bankruptcy Rule 9014 and Rule

54(b) of the Federal Rules of Civil Procedure, as made applicable by Bankruptcy Rule 7054, this

Court expressly finds that there is no just reason for delay in the implementation of this Sale Order,

and, sufficient cause having been shown, waives any such stay, and expressly directs entry of this


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Sale Order as set forth herein. The Debtors have demonstrated compelling circumstances and a

good, sufficient and sound business purpose and justification for the immediate approval and

consummation of the Transaction as contemplated by the Asset Purchase Agreement. The Buyer,

being a good faith purchaser under section 363(m) of the Bankruptcy Code, may close the

Transaction contemplated by the Asset Purchase Agreement at any time after entry of this Sale

Order, subject to the terms and conditions of the Asset Purchase Agreement.

       CC.     The consummation of the Transaction is legal, valid, and properly authorized under

all applicable provisions of the Bankruptcy Code, including, without limitation, sections 105, 363,

and 365 of the Bankruptcy Code, and all of the applicable requirements of such sections have been

complied with in respect of the Transaction.

       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

THAT:

                                    GENERAL PROVISIONS

       1.      The Motion, and the relief requested therein, is granted and approved, and the

Transaction contemplated thereby and by the Asset Purchase Agreement and Transaction

Documents are approved, in each case as set forth in this Sale Order.

       2.      This Court’s findings of fact and conclusions of law set forth in the Bidding

Procedures Order are incorporated herein in their entirety by reference.

       3.      Other than the Adjourned Objections, which are hereby preserved pending further

order of the Court, all objections to the Motion or the relief requested therein that have not been

withdrawn, waived, resolved, adjourned, or otherwise settled as set forth herein, as announced to

this Court at the Sale Hearing or by stipulation filed with this Court, and all reservations of rights

included therein, are hereby denied and overruled on the merits. Those parties who did not object

to the Motion or the entry of this Sale Order in accordance with the Bidding Procedures Order, or


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who withdrew their objections thereto, are deemed to have consented to the relief granted herein

for all purposes, including, without limitation, pursuant to section 363(f)(2) of the Bankruptcy

Code.

        APPROVAL OF ASSET PURCHASE AGREEMENT; BINDING NATURE

        4.     The Asset Purchase Agreement and the other Transaction Documents, and all of

the terms and conditions thereof, are hereby approved as set forth herein, specifically including

the mutual releases set forth in Section 7.16 of the Asset Purchase Agreement, subject in all cases

to the terms thereof.

        5.     The consideration provided by the Buyer for the Purchased Assets under the Asset

Purchase Agreement is fair and reasonable and shall be deemed for all purposes to constitute

reasonably equivalent value, fair value, and fair consideration under the Bankruptcy Code, the

Uniform Fraudulent Transfer Act, the Uniform Voidable Transactions Act, the Uniform

Fraudulent Conveyance Act, and any other applicable law, and the Transaction may not be avoided

or rejected by any Person, or costs or damages imposed or awarded against the Buyer, under

section 363(n) or any other provision of the Bankruptcy Code.

        6.     Pursuant to sections 105, 363, and 365 of the Bankruptcy Code, the Debtors are

authorized and empowered to, and shall, take any and all actions necessary or appropriate to

(i) consummate the Transaction pursuant to and in accordance with the terms and conditions of

the Asset Purchase Agreement and the other Transaction Documents and otherwise comply with

the terms of this Sale Order, and (ii) execute and deliver, perform under, consummate, implement,

and take any and all other acts or actions as may be reasonably necessary or appropriate to the

performance of their obligations as contemplated by the Asset Purchase Agreement and the other

Transaction Documents, in each case without further notice to or order of this Court. The

Transaction authorized herein shall immediately be of full force and effect.


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       7.      In accordance with this Sale Order and subject to the terms of the Asset Purchase

Agreement, each of the following Debtor entities (i) JHO Intellectual Property Holdings, LLC; (ii)

JHO Real Estate Investment, LLC; (iii) Quash Seltzer, LLC; and (iv) Rainbow Unicorn Bev, LLC,

is authorized, but not directed, in its sole discretion, to (a) contribute and transfer all of its

respective right, title, and interest (free and clear of all Liabilities and Encumbrances other than

the Assumed Liabilities and Permitted Encumbrances or as set forth on Section 2.1 of the Seller

Disclosure Schedule in the Asset Purchase Agreement) in and to all of the assets (including any

Purchased Assets) of or held by such Debtor entity to Debtor Vital Pharmaceuticals via a

contribution of such assets to Debtor Vital Pharmaceuticals and such contribution and transfer

shall be deemed to have occurred prior to the Closing, and/or (b) assign and transfer all of the

Liabilities of such Debtor entity (including any Assumed Liabilities) to Debtor Vital

Pharmaceuticals via an assignment and assumption of such Liabilities by Debtor Vital

Pharmaceuticals.

       8.      This Sale Order shall be binding in all respects upon the Debtors, their estates, all

creditors, all holders of equity interests in the Debtors, all holders of any Claim(s) (whether known

or unknown) against the Debtors, all holders of Interests (whether known or unknown) against, in,

or on, all or any portion of the Purchased Assets, all non-Debtor parties to the Assumed

Agreements and Assumed Real Property Leases, the Buyer, and all successors and assigns of the

foregoing, including, without limitation, any trustee, if any, subsequently appointed in these

Chapter 11 Cases or upon a conversion to Chapter 7 under the Bankruptcy Code of these Chapter

11 Cases, or, to the extent applicable, other plan fiduciaries, plan administrators, liquidating

trustees, or other estate representatives appointed or elected in the Debtors’ Chapter 11 Cases.




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     TRANSFER OF ASSETS FREE AND CLEAR OF INTERESTS; INJUNCTION

       9.      Pursuant to sections 105(a), 363(b), 363(f), 365(a), 365(b), and 365(f) of the

Bankruptcy Code, the Debtors are authorized and directed to transfer the Purchased Assets,

including but not limited to the Assumed Agreements and Assumed Real Property Leases, to the

Buyer on the Closing Date in accordance with the Asset Purchase Agreement and the other

Transaction Documents. Upon and as of the Closing Date, such transfer shall constitute a legal,

valid, binding, and effective transfer of such Purchased Assets free and clear of all Interests of any

kind or nature whatsoever (except as expressly set forth in the Asset Purchase Agreement with

respect to Permitted Encumbrances and Assumed Liabilities) and shall vest the Buyer with all

right, title, and interest to and in such Purchased Assets subject only to the Permitted

Encumbrances and Assumed Liabilities expressly set forth in the Asset Purchase Agreement. For

the avoidance of doubt, the transfer of the Purchased Assets by the Debtors to the Buyer pursuant

to the Asset Purchase Agreement and this Sale Order shall be free and clear of the Interests set

forth in Requirements 11, 16, 19, 20, 21, 22, 23, 26, and 34 of Schedule B, Part I of the Form Title

Commitment attached as Exhibit E hereto, including, without limitation, the Interests described

on the attached Exhibit D (Schedule of Interests).

       10.     All such Interests shall attach solely to the Sale Proceeds with the same validity,

priority, force, and effect that they now have as against the Purchased Assets, subject to any claims

and defenses the Debtors and their estates or any other Person may possess with respect thereto.

This Sale Order shall be effective as a determination that, on and as of the Closing, all Interests of

any kind or nature whatsoever (except for Assumed Liabilities and Permitted Encumbrances) have

been unconditionally released, discharged, and terminated in, on, or against the Purchased Assets

(but not the proceeds thereof). The provisions of this Sale Order authorizing and approving the

transfer of the Purchased Assets free and clear of Interests shall be self-executing, and neither the


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Debtors nor the Buyer shall be required to execute or file releases, termination statements,

assignments, consents, or other instruments in order to effectuate, consummate, and implement the

provisions of this Sale Order.

       11.     Except as expressly permitted by the Asset Purchase Agreement or this Sale Order,

all Persons holding Interests (other than Assumed Liabilities and Permitted Encumbrances) are

hereby forever barred, estopped, and permanently enjoined from asserting their respective Interests

against the Buyer, and each of its properties and assets, including, without limitation, the

Purchased Assets.

       12.     On and after the Closing Date, the Buyer shall be authorized to execute and file

such documents, and to take all other actions as may be necessary, on behalf of each holder of an

Interest to release, discharge, and terminate such Interests in, on and against the Purchased Assets

(but not the proceeds thereof) as provided for herein, as such Interests may have been recorded or

may otherwise exist. On and after the Closing Date, and without limiting the foregoing, the Buyer

shall be authorized to file termination statements, mortgage releases, or lien terminations in any

required jurisdiction to remove any mortgage, record, notice filing, or financing statement recorded

to attach, perfect, or otherwise notice any Interest that is extinguished or otherwise released

pursuant to this Sale Order. This Sale Order constitutes authorization under all applicable

jurisdictions and versions of the Uniform Commercial Code (the “UCC”) and other applicable law

for the Buyer to file UCC and other applicable termination statements with respect to all security

interests in, liens on, or other Interests in the Purchased Assets.

       13.     On and after the Closing, the Persons holding an Interest (other than an Assumed

Liability or Permitted Encumbrance expressly set forth in the Asset Purchase Agreement) shall

execute such documents and take all other actions as may be reasonably necessary to release their




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respective Interests in the Purchased Assets (but not the proceeds thereof), as such Interests may

have been recorded or otherwise filed. The Buyer may, but shall not be required to, file a certified

copy of this Sale Order in any filing or recording office in any federal, state, county, or other

jurisdiction in which the Debtors are incorporated or has real or personal property, or with any

other appropriate clerk or recorded with any other appropriate recorder, and such filing or

recording shall be accepted and shall be sufficient to release, discharge, and terminate any of the

Interests as set forth in this Sale Order as of the Closing Date. All Persons that are in possession

of any portion of the Purchased Assets on the Closing Date shall promptly surrender possession

thereof to the Buyer at the Closing.

        14.        On and after the Closing Date, no holder of an Interest in or against the Debtors or

the Purchased Assets (other than Assumed Liabilities and Permitted Encumbrances) shall interfere

with the Buyer’s title to, or use and enjoyment of, the Purchased Assets based on or related to such

Interest.

        15.        The transfer of the Purchased Assets to the Buyer pursuant to the Asset Purchase

Agreement and the other Transaction Documents does not require any consents other than

specifically provided for in the Asset Purchase Agreement or as otherwise provided for herein.

        16.        Upon consummation of the Sale and the Closing Date, other than with respect to

payment of Cure Costs, all cash proceeds of the Sale (the “Sale Proceeds”) will be applied in the

following order:

            i.     First, the full amount necessary, currently estimated at $16 million, out of the Sale

                   Proceeds (the “Asserted Lien Amount”) to satisfy in full the liens and claims of

                   mechanics, repairmen, workmen, suppliers or materialmen liens (the “Asserted

                   Liens”) as set forth in Section 3.1(c) of the Asset Purchase Agreement, and initially




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        deposited into a segregated interest bearing account (the “Asserted Lien Escrow

        Account”) to be held and disbursed pursuant to the terms set forth in paragraph 17

        of this Sale Order;

 ii.    Second, an amount of Sale Proceeds equal to $8,000,000 shall be set aside in a

        segregated account reserved for the payment of the WARN Act and other employee

        liabilities described in Section 3.1(c) of the Asset Purchase Agreement, subject in

        all respects to the terms thereof;

iii.    Third, an amount of Sale Proceeds equal to $1,000,000 to pay in full all principal

        and interest under the loan agreements, financing agreements, or lease

        arrangements with respect to the vehicles that constitute the Purchased Assets to

        the extent outstanding as of the Closing in accordance with Section 7.22 of the

        Asset Purchase Agreement;

iv.     Fourth, an amount of Sale Proceeds equal to $20,000,000 (in respect of items

        (a), (b), and (c) of the Carve-Out (as defined in paragraph 37 of the Final DIP

        Order)) plus an estimate not to exceed $50,000 (in respect of items (d), (e), and (f)

        of the Carve-Out), shall be deemed deposited into a Carve-Out Escrow (as defined

        in paragraph 37 of the Final DIP Order), in full and complete satisfaction of any

        obligations in connection with the Carve-Out as defined in the Final DIP Order, or

        any other obligations (if any) of the DIP Agent, the DIP Lenders, the Pre-Petition

        Agent or the Pre-Petition Lenders (each as defined in the Final DIP Order) in

        respect of professional fees and expenses (and other Carve-Out obligations)

        payable in connection with these Chapter 11 Cases and without for avoidance of




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                 doubt the requirement of a Carve-Out Termination Notice or any other notice or

                 action;

          v.     Fifth, an amount equal to the sum of (A) $287,000,000, less (B) any unfunded

                 portion of the commitments under the DIP Facility at such time, plus (C) an amount

                 equal to the unreimbursed professional fees and expenses of the DIP Agent accrued

                 through the Closing Date, less (D) an amount equal to the aggregate amount of

                 interest accrued in respect of the DIP Facility that the Debtors pay to the DIP Agent

                 during the period from June 6, 2023 through the Closing Date, if any, to the

                 outstanding obligations under the DIP Facility (to be applied in accordance with

                 the DIP Facility or as otherwise determined by the Administrative Agent under the

                 DIP Facility and otherwise permitted under applicable law (the “DIP Partial

                 Payoff”)); and

         vi.     Sixth, the remainder of the Sale Proceeds shall be deposited into a segregated

                 interest-bearing account (the “Sale Proceeds Account”) to fund expenses of the

                 Debtors’ estates in the ordinary course, or to make such other distributions to

                 creditors as may be authorized by further Court order.

        Reasonable notice of any request for the release of Sale Proceeds from the Sale Proceeds

Account or the Asserted Lien Escrow Account shall be filed with this Court and given to the

Debtors and all parties in interest asserting a Claim to, or Interest in, the Sale Proceeds and the

rights of the Debtors and all parties in interest to object to the release of all or any part of the Sale

Proceeds from the Sale Proceeds Account or the Asserted Lien Escrow Account is hereby fully

preserved. All Claims and Interests will attach to the Sale Proceeds to the same extent and with

the same priority as existed immediately prior to consummation of the Sale, subject to any claims,




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defenses and objections, if any, that the Debtors, their estates, or any other party in interest may

possess with respect thereto; provided that the foregoing does not alter or impair any parties’ rights

provided under the Final DIP Order (except as specifically provided above).

       17.     Notwithstanding anything in this Sale Order or the Asset Purchase Agreement to

the contrary, Sale Proceeds in an amount equal to the Asserted Lien Amount shall be placed in the

Asserted Lien Escrow Account as soon as reasonably practicable after receipt of the Sale Proceeds

and shall remain in the Asserted Lien Escrow Account pending further order of the Court or

agreement between the Debtors and Stellar Group, Inc. Any property transferred to the Buyer

pursuant to the Sale that is subject to the Asserted Liens shall pass free and clear of all Interests

notwithstanding the Asserted Liens. For the avoidance of doubt, to the extent that the Asserted

Liens are deemed valid by order of the Court or agreement between the Debtors and Stellar Group,

Inc., such liens shall attach solely to the funds in the Asserted Lien Escrow Account.

       18.     On the Closing Date, this Sale Order shall be construed and shall constitute for any

and all purposes a full and complete general assignment, conveyance, and transfer to the Buyer of

the Purchased Assets and the Debtors’ interests in the Purchased Assets acquired by the Buyer

under the Asset Purchase Agreement. This Sale Order is and shall be effective as a determination

that, on the Closing Date, all Interests of any kind or nature whatsoever existing as to the Purchased

Assets prior to the Closing Date (other than Assumed Liabilities and Permitted Encumbrances),

shall have been unconditionally released, discharged, and terminated to the fullest extent permitted

by applicable law, and that the conveyances described herein have been effected.

       19.     This Sale Order is and shall be binding upon and govern the acts of all Persons

(including, without limitation, all filing agents, filing officers, title agents, title companies,

recorders of mortgages, recorders of deeds, registrars of deeds, administrative agencies,




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governmental departments, secretaries of state, and federal, state, and local officials) who may be

required by operation of law, the duties of their office, or contract to accept, file, register, or

otherwise record or release any documents or instruments, or who may be required to report or

insure any title or state of title in or to any lease. Each of the foregoing Persons shall accept for

filing any and all of the documents and instruments necessary and appropriate to release, discharge,

and terminate any of the Interests or to otherwise consummate the Transaction contemplated by

this Sale Order, the Asset Purchase Agreement, or any Transaction Document.

                        ASSUMED AGREEMENTS AND
               ASSUMED REAL PROPERTY LEASES; CURE PAYMENTS

       20.     Pursuant to sections 105(a), 363, and 365 of the Bankruptcy Code, and subject to

and conditioned upon the Closing Date, the Debtors’ assumption, assignment, and transfer to the

Buyer of the Assumed Agreements and Assumed Real Property Leases is hereby authorized and

approved in full subject to the terms set forth below.

       21.     Upon and as of the Closing, the Debtors are authorized and empowered to, and

shall, assume, assign, and/or transfer each of the Assumed Agreements and Assumed Real

Property Leases to the Buyer free and clear of all Interests (except as expressly set forth in the

Asset Purchase Agreement with respect to Permitted Encumbrances and Assumed Liabilities).

The payment of the applicable Cure Costs (if any), or—with respect to any disputed Cure Costs—

the reservation by the Debtors (or the Buyer on behalf of the Debtors) of an amount of cash that is

equal to the lesser of (i) the amount of any cure or other compensation asserted by the applicable

counterparty to such Assumed Agreement or Assumed Real Property Lease as required under

section 365 of the Bankruptcy Code, or (ii) the amount approved by order of this Court to reserve

for such payment (such lesser amount, the “Alleged Cure Claim”) shall, pursuant to section 365

of the Bankruptcy Code and other applicable law, (a) effect a cure, or provide adequate assurance



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of cure, of all defaults existing thereunder as of the Closing Date, and (b) compensate, or provide

adequate assurance of compensation, for any actual pecuniary loss to such non-Debtor party

resulting from such default. Accordingly, on and as of the Closing Date, other than such payment

or reservation, neither the Debtors nor the Buyer shall have any further liabilities or obligations to

the non-Debtor counterparties to the Assumed Agreements and Assumed Real Property Leases

with respect to, and the non-Debtor counterparties to the Assumed Agreements and Assumed Real

Property Leases shall be forever barred, estopped, and permanently enjoined from seeking, any

additional amounts or Claims that arose, accrued, or were incurred at any time on or prior to the

Closing Date on account of the Debtors’ cure or compensation obligations arising under

section 365 of the Bankruptcy Code. Notwithstanding anything to the contrary in the Motion, the

Asset Purchase Agreement, or this Sale Order, from and after the assumption and assignment of

such Assumed Agreements and Assumed Real Property Leases after the Closing, the Buyer shall

comply with the terms of each Assumed Agreement and Assumed Real Property Lease. The Buyer

has provided adequate assurance of future performance under the relevant Assumed Agreements

and Assumed Real Property Leases within the meaning of section 365(f) of the Bankruptcy Code.

        22.     To the extent any provision in any Assumed Agreement or Assumed Real Property

Lease assumed and assigned pursuant to this Sale Order (including, without limitation, any

“change of control” provision) (i) prohibits, restricts, or conditions, or purports to prohibit, restrict,

or condition, such assumption or assignment, or (ii) is modified, breached, or terminated, or

deemed modified, breached, or terminated by any of the following: (a) the commencement of these

Chapter 11 Cases; (b) the insolvency or financial condition of the Debtors at any time before the

closing of these Chapter 11 Cases; (c) the Debtors’ assumption and assignment of such Assumed

Agreement or Assumed Real Property Lease; or (d) the consummation of the Transaction, then




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such provision shall be deemed modified so as to not entitle the non-Debtor counterparty thereto

to prohibit, restrict, or condition such assumption or assignment, to modify or terminate such

Assumed Agreement or Assumed Real Property Lease, or to exercise any other default-related

rights or remedies with respect thereto, including, without limitation, any such provision that

purports to allow the non-Debtor counterparty thereto to recapture such Assumed Agreements and

Assumed Real Property Leases, impose any penalty thereunder, condition any renewal or

extension thereof, impose any rent acceleration or assignment fee, or increase or otherwise impose

any other fees or other charges in connection therewith.          All such provisions constitute

unenforceable anti-assignment provisions that are void ab initio and of no force and effect pursuant

to sections 365(b), 365(e), and 365(f) of the Bankruptcy Code; provided, however, this paragraph

22 shall only apply to the assumption and assignment of the Assumed Agreements and Assumed

Real Property Leases effectuated as part of the Sale and nothing in this Sale Order shall permit any

further or other assignment, assignment and assumption, or other transfer of any Assumed

Agreements or Assumed Real Property Leases except as expressly permitted under and in

accordance with the terms of such Assumed Agreements and Assumed Real Property Leases.

       23.     All requirements and conditions under sections 363 and 365 of the Bankruptcy

Code for the assumption by the Debtors and assignment to the Buyer of the Assumed Agreements

and Assumed Real Property Leases have been satisfied. Upon the Closing, in accordance with

sections 363 and 365 of the Bankruptcy Code, the Buyer shall be fully and irrevocably vested with

all right, title, and interest of the Debtors in and under the Assumed Agreements and Assumed

Real Property Leases free and clear of any Interest (other than Permitted Encumbrances and

Assumed Liabilities as provided for in the Asset Purchase Agreement), and each Assumed

Agreement or Assumed Real Property Lease shall be fully enforceable by the Buyer in accordance




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with its respective terms and conditions, except as limited or modified by the provisions of this

Sale Order. Upon and as of the Closing, the Buyer shall be deemed to be substituted for the

Debtors as a party to the applicable Assumed Agreements and Assumed Real Property Leases and,

accordingly, the Debtors shall be relieved, pursuant to section 365(k) of the Bankruptcy Code,

from any further liability under the Assumed Agreements and Assumed Real Property Leases. The

Buyer shall have no liability arising or accruing under the Assumed Agreements and Assumed

Real Property Leases on or prior to the Closing Date, except as otherwise expressly provided in

the Asset Purchase Agreement or this Sale Order.

       24.     To the extent a non-Debtor counterparty to a Assumed Agreement or Assumed Real

Property Lease failed to timely object to a Cure Cost in accordance with the Bidding Procedures

Order and Assumption Notice, such Cure Cost shall be deemed to be finally determined and any

such non-Debtor counterparty shall be prohibited from challenging, objecting to, or denying the

validity and finality of the Cure Cost at any time, and such Cure Cost, when paid, shall be deemed

to resolve any defaults or other breaches with respect to any Assumed Agreement or Assumed

Real Property Lease to which it relates. Unless as otherwise set forth in this Sale Order or the

Asset Purchase Agreement, the non-Debtor counterparties to the Assumed Agreements and

Assumed Real Property Leases are barred from asserting against the Debtors, their estates, and the

Buyer, any default or unpaid obligation allegedly arising or occurring before the Closing Date, any

pecuniary loss resulting from such default, or any other obligation under the Assumed Agreements

and Assumed Real Property Leases arising or incurred prior to the Closing Date, other than the

applicable Cure Costs. Upon the payment of the applicable Cure Costs or the reservation of the

Alleged Cure Claims, if any, the Assumed Agreements and Assumed Real Property Leases will

remain in full force and effect, and no default shall exist, or be deemed to exist, under the Assumed




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Agreements and Assumed Real Property Leases as of the Closing Date nor shall there exist, or be

deemed to exist, any event or condition which, with the passage of time or giving of notice, or

both, would constitute such a default.

       25.     All counterparties to the Assumed Agreements and Assumed Real Property Leases

shall be deemed to have consented to such assumption and assignment under section 365(c)(1)(B)

of the Bankruptcy Code and the Buyer shall enjoy all of the Debtors’ rights, benefits, and privileges

under each such Assumed Agreement and Assumed Real Property Lease as of the applicable date

of assumption and assignment without the necessity to obtain any non-Debtor parties’ written

consent to the assumption or assignment thereof.

       26.     Upon payment of the Cure Costs, no default or other obligations arising prior to the

Closing Date shall exist under any Assumed Agreement or Assumed Real Property Lease, and,

except as otherwise set forth in this Sale Order, each non-Debtor party is forever barred and

estopped from: (i) declaring a default by the Debtors or the Buyer under such Assumed Agreement

or Assumed Real Property Lease; (ii) raising or asserting against the Debtors or the Buyer, or the

property of either of them, any assignment fee, default, breach, or claim of pecuniary loss, or

condition to assignment, arising under or related to the Assumed Agreements and Assumed Real

Property Leases; or (iii) taking any other action against the Buyer as a result of any Debtor’s

financial condition, bankruptcy, or failure to perform any of its obligations under the relevant

Assumed Agreement or Assumed Real Property Lease, in each case in connection with the Sale.

Except as otherwise set forth in this Sale Order, each non-Debtor counterparty is also forever

barred and estopped from raising or asserting against the Buyer any assignment fee, default,

breach, Claim, pecuniary loss, or condition to assignment arising under or related to the Assumed




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Agreements and Assumed Real Property Leases existing as of the Closing Date or arising by

reason of the Closing of the Sale other than the Cure Costs.

       27.     Nothing in this Sale Order, the Motion, or in any notice or any other document is

or shall be deemed an admission by the Debtors that any Assumed Agreement or Assumed Real

Property Lease is an executory contract or unexpired lease under section 365 of the Bankruptcy

Code. Individual purchase orders issued by vendors with whom the Debtors have master supply

agreements shall not be deemed to constitute one and the same contract as the master supply

agreement. The Debtors may assume and assign to the Buyer a vendor’s master supply agreement

without assuming and assigning or paying claims arising under individual purchase orders issued

by such vendor, and such claims shall not constitute Cure Costs under the master supply

agreement.

       28.     The failure of the Debtors or the Buyer, or any non-Debtor party to enforce at any

time one or more terms or conditions of any Assumed Agreement or Assumed Real Property Lease

shall not be a waiver of such terms or conditions or of their respective rights to enforce every term

and condition of the Assumed Agreements and Assumed Real Property Leases.

               ADDITIONAL INJUNCTION; NO SUCCESSOR LIABILITY

       29.     Effective upon the Closing Date and except as expressly set forth in the Asset

Purchase Agreement with respect to Permitted Encumbrances and Assumed Liabilities, all Persons

forever barred, estopped, and permanently enjoined from asserting against the Buyer any Interest

of any kind or nature whatsoever such Person had, has, or may have against or in the Debtors, their

estates, officers, directors, managers, shareholders, or the Purchased Assets, including, without

limitation, the following actions: (i) commencing or continuing in any manner any action or other

proceeding, the employment of process, or any act (whether in law or equity, in any judicial,

administrative, arbitral, or other proceeding) to collect or recover any Interest; (ii) enforcing,


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attaching, collecting, or recovering in any manner any judgment, award, decree, or order with

respect to an Interest; (iii) creating, perfecting, or enforcing any Interest; (iv) asserting any right

of subrogation, setoff or recoupment of any kind with respect to an Interest (except if such right

was asserted before the Petition Date, or preserved in a timely filed proof of claim or motion filed

with the Court); (v) commencing or continuing any action in any manner or place, that does not

comply with or is inconsistent with the provisions of this Sale Order, other orders of this Court,

the Asset Purchase Agreement, the other Transaction Documents, or any other agreements or

actions contemplated or taken in respect thereof; or (vi) revoking, terminating, failing, or refusing

to transfer or renew any license, permit, or authorization to operate any of the Purchased Assets or

conduct any of the businesses operated with the Purchased Assets in connection with the Sale, in

each case of (i) through (vi), as against the Buyer, or any of its affiliates or subsidiaries, or any of

their respective Representatives, or any of its or their respective property or assets, including the

Purchased Assets.

       30.     To the greatest extent available under applicable law, the Buyer shall be authorized,

as of the Closing Date, to operate under any license, permit, registration, and governmental

authorization or approval of the Debtors with respect to the Purchased Assets, and all such licenses,

permits, registrations, and governmental authorizations and approvals are deemed to have been,

and hereby are, deemed to be transferred to the Buyer as of the Closing Date.

       31.     To the extent provided by section 525 of the Bankruptcy Code, no governmental

unit may revoke or suspend any grant, permit, or license relating to the operation of the Purchased

Assets sold, transferred, assigned, or conveyed to the Buyer on account of the filing or pendency

of these Chapter 11 Cases or the consummation of the Sale. Each and every federal, state, and

local governmental agency or department is hereby authorized and directed to accept any and all




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documents and instruments necessary and appropriate to consummate the Sale set forth in the

Asset Purchase Agreement.

       32.     Subject to the terms, conditions, and provisions of this Sale Order, Persons are

hereby forever prohibited and barred from taking any action that would adversely affect or interfere

(i) with the ability of the Debtors to sell and transfer the Purchased Assets to Buyer in accordance

with the terms of the Asset Purchase Agreement (subject to the Permitted Encumbrances and

Assumed Liabilities) and this Sale Order, and (ii) with the ability of the Buyer to acquire, take

possession of, use and operate the Purchased Assets in accordance with the terms of the Asset

Purchase Agreement and this Sale Order.

       33.     The Buyer shall not be deemed, as a result of any action taken in connection with

the Transaction contemplated by the Asset Purchase Agreement or the Transaction Documents to:

(i) be a successor to the Debtors or their estates; (ii) have, de facto or otherwise, merged or

consolidated with or into the Debtors or their estates; (iii) be a continuation or substantial

continuation of the Debtors or any enterprise of the Debtors; (iv) have a common identity with the

Debtors; (v) have acquired the trade or business of any of the Debtors for any purpose under

applicable U.S. federal law (including the Bankruptcy Code and the Internal Revenue Code of

1986, as amended); or (vi) be held out to the public as a continuation of the Debtors or the Debtors’

trade or business.

       34.     Except as expressly set forth in the Asset Purchase Agreement or this Sale Order

with respect to Assumed Liabilities or Permitted Encumbrances, the transfer of the Purchased

Assets, including, without limitation, the assumption, assignment, and transfer of any Assumed

Agreement and Assumed Real Property Lease, to the Buyer shall not cause or result in, or be

deemed to cause or result in, the Buyer, any of its affiliates or subsidiaries, or any of their




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respective representatives, having any liability, obligation, or responsibility for, or any Purchased

Assets being subject to or being recourse for, any Interest whatsoever, whether arising under any

doctrines of successor, transferee, or vicarious liability or any kind or character, including, but not

limited to, under any theory of foreign, federal, state, or local antitrust, environmental, successor,

tax, ERISA, assignee, or transferee liability, labor, product liability, employment, de facto merger,

substantial continuity, or other law, rule, or regulation, whether known or unknown as of the

Closing Date, now existing or hereafter arising, whether asserted or unasserted, fixed or

contingent, liquidated or unliquidated with respect to the Debtors or any obligations of the Debtors

arising prior to the Closing Date, breach of fiduciary duty, aiding or abetting breach of fiduciary

duty, or otherwise, whether at law or in equity, directly or indirectly, and whether by payment or

otherwise. The Buyer shall not be deemed to have expressly or implicitly assumed any of the

Debtors’ liabilities (other than a Permitted Encumbrance or Assumed Liability expressly set forth

in the Asset Purchase Agreement). Except as otherwise provided herein or in the Asset Purchase

Agreement, the transfer of the Purchased Assets to the Buyer pursuant to the Asset Purchase

Agreement shall not result in the Buyer or the Purchased Assets having any liability or

responsibility for, or being required to satisfy in any manner, whether in law or in equity, whether

by payment, setoff, or otherwise, directly or indirectly, any claim against the Debtors or against

any insider of the Debtors or Interests (other than Assumed Liabilities or Permitted

Encumbrances).

                                          GOOD FAITH

       35.     The Transaction contemplated by this Sale Order, the Asset Purchase Agreement,

and the other Transaction Documents is undertaken by the Buyer without collusion and in good

faith, as that term is defined in section 363(m) of the Bankruptcy Code, and accordingly, the

reversal or modification on appeal of the authorization provided herein to consummate the Sale


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and Transaction shall not alter, affect, limit, or otherwise impair the validity of the Sale or

Transaction (including the assumption, assignment, and/or transfer of the Assumed Agreements

and Assumed Real Property Leases), except for so long as such authorization and consummation

are duly stayed pending such appeal. The Buyer is a good faith purchaser within the meaning of

section 363(m) of the Bankruptcy Code and, as such, is entitled to, and is hereby granted, the full

rights, benefits, privileges, and protections of section 363(m) of the Bankruptcy Code. The Buyer

is also not an “insider” of any Debtor, as that term is defined in the Bankruptcy Code.

           OTHER PROVISIONS AND RESOLUTIONS OF SALE OBJECTIONS

       36.     Pursuant to Bankruptcy Rules 6004(h), 6006(d), 7062, and 9014, this Sale Order

shall not be stayed after the entry hereof, but shall be effective and enforceable immediately upon

entry, and the stay provisions provided for in Bankruptcy Rules 6004(h) and 6006(d) are hereby

expressly waived and shall not apply. In the absence of any Person obtaining a stay pending

appeal, the Debtors and the Buyer are free to close the Transaction under the Asset Purchase

Agreement at any time pursuant to the terms thereof.

       37.     The Buyer shall not be required, pursuant to section 365(l) of the Bankruptcy Code

or otherwise, to provide any additional deposit or security with respect to any of the Assumed

Agreements and Assumed Real Property Leases to the extent not previously provided by the

Debtors.

       38.     Neither the Buyer nor the Debtors shall have an obligation to close the Transaction

until all conditions precedent in the Asset Purchase Agreement to each of their respective

obligations to close the Transaction have been met, satisfied, or waived in accordance with the

terms of the Asset Purchase Agreement. The provisions of this Sale Order are self-executing. In

the absence of any Person obtaining a stay pending appeal, the Debtors and the Buyer are free to

close the Transaction under the Asset Purchase Agreement at any time pursuant to the terms


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thereof. The Transaction contemplated by the Asset Purchase Agreement is undertaken by the

Buyer in good faith, as that term is used in section 363(m) of the Bankruptcy Code, and

accordingly, the reversal or modification on appeal of the authorization provided herein to

consummate the Transaction shall not affect the validity of the sale of the Purchased Assets to the

Buyer (including the assumption and assignment by the Debtors of any of the Assumed

Agreements and Assumed Real Property Leases), except for so long as such authorization is duly

stayed pending such appeal. The Buyer is a buyer in good faith of the Purchased Assets, and is

entitled to all of the protections afforded by section 363(m) of the Bankruptcy Code.

        39.     Nothing in this Sale Order shall modify or waive any closing conditions or

termination rights set forth in the Asset Purchase Agreement, and all such conditions and rights

shall remain in full force and effect in accordance with their terms.

        40.     No bulk sales law or any similar law of any state or other jurisdiction applies in any

way to the Transaction.

        41.     The failure to specifically include any particular provision of the Asset Purchase

Agreement in this Sale Order shall not diminish or impair the effectiveness of such provision, it

being the intent of this Court that the Asset Purchase Agreement be authorized and approved in its

entirety.

        42.     The Asset Purchase Agreement and the other Transaction Documents may be

modified, amended, or supplemented in a writing signed by the parties thereto, provided that any

such modification, amendment, or supplement does not have a material adverse effect on the

Debtors’ estates or their creditors, without further notice to or order of this Court.            Any

modifications, amendments or supplements having a material adverse effect on the Debtors’

estates or their creditors shall be subject to the approval of this Court after notice and a hearing.




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       43.     Broward County. To the extent that Broward County, Florida (“Broward County”),

has valid, perfected, enforceable, senior and non-avoidable liens for 2023 property taxes and non-

ad valorem assessments arising under state law on any proceeds from the Transaction (the “2023

Broward County Liens”), proceeds shall be placed in a segregated account in the aggregate amount

of $125,965.61 as adequate protection for Broward County’s claims or used to pay Broward

County on account of such claims promptly following Closing. The 2023 Broward County Liens

shall attach to such proceeds to the same extent and with the same priority as the liens they now

hold against the property of the Debtors. Any funds placed in a segregated account shall be on the

order of adequate protection and shall constitute neither the allowance of the claims of Broward

County, nor a cap on the amounts they may be entitled to receive. Furthermore, the 2023 Broward

County Liens shall remain subject to any objections any party would otherwise be entitled to raise

as to the priority, validity or extent of such liens. Any funds segregated pursuant to this paragraph

may be distributed only upon agreement between Broward County and the Debtors, or by

subsequent order of the Court, duly noticed to Broward County.

       44.     Chubb. Notwithstanding anything to the contrary in the Motion, the Asset Purchase

Agreement, any lists of Assumed Agreements and Assumed Real Property Leases to be assumed

and assigned and/or any Assumption Notices, this Sale Order, or any documents relating to any of

the foregoing: nothing shall permit or otherwise effect a sale, an assignment, or any other transfer

of: (i) any insurance policies that have been issued by Federal Insurance Company, Great Northern

Insurance Company, Chubb Custom Insurance Company, Vigilant Insurance Company, and/or

any of their U.S.-based affiliates and successors (collectively, the “Chubb Companies”) and all

agreements, documents or instruments relating thereto (collectively, the “Chubb Insurance

Contracts”); and/or (ii) any rights, proceeds, benefits, claims, rights to payments and/or recoveries




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under such Chubb Insurance Contracts to the Buyer; provided, however, that to the extent any

claim with respect to the Purchased Assets arises that is covered by the Chubb Insurance Contracts,

the Debtors may pursue such claim in accordance with the terms of the Chubb Insurance Contracts,

and, if applicable, turn over to the Buyer any such insurance proceeds (each, a “Proceed

Turnover”), provided, further, however, that the Chubb Companies shall not have any duty to

effectuate a Proceed Turnover or liability related to a Proceed Turnover.

       45.     OBI/Monster Escrow Account. The Order Granting Debtors’ and Creditors

Monster Energy Company and Orange Bang, Inc.’s Joint Agreed Motion to Approved Agreement

Regarding Royalty that Accrued Postpetition [ECF No. 639] (the “Royalty Order”) is modified

such that both the Debtors’ and Buyers’ obligations under the Royalty Order shall be deemed

satisfied following distribution of the OBI/Monster Escrow Amount (and if applicable, payment

of such amount from reserves from the Sale Proceeds established in accordance with this Sale

Order) in accordance with Section 7.19 of the Asset Purchase Agreement. For the avoidance of

doubt, upon Closing of the Transaction under the Asset Purchase Agreement and the satisfaction

of the terms of Section 7.19 of the Asset Purchase Agreement, the Debtors shall have no further

financial obligations to MEC or Orange Bang, Inc. with respect to the Postpetition Royalty (as

defined in the Royalty Order).

       46.     This Court retains jurisdiction, pursuant to its statutory powers under 28 U.S.C.

§ 157(b), to, among other things: (i) interpret, implement, and enforce the terms and provisions of

this Sale Order, the Asset Purchase Agreement, the Transaction Documents, and any amendments

thereto and any waivers and consents given thereunder; (ii) compel delivery of the Purchased

Assets to the Buyer; (iii) compel performance of obligations owed to the Debtors; (iv) resolve any

disputes related to the Transaction Documents; (v) compel delivery of any waivers, releases, or




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other related documentation reasonably requested by the Debtors or the Buyer to evidence the

release of any Interests in the Purchased Assets; (vi) enforce the injunctions and limitations of

liability set forth in this Sale Order; and (vii) enter any orders under sections 363 and 365 of the

Bankruptcy Code with respect to the Assumed Agreements and Assumed Real Property Leases.

       47.     All time periods set forth in this Sale Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       48.     Consistent with the terms of the Asset Purchase Agreement, the Debtors are

authorized to change their legal names, and file any necessary documents to effectuate such name

changes, without further order of the Court. The Debtors shall file a motion to correct the debtor’s

name pursuant to Local Rule 1009-1(B).

       49.     Nothing contained in any plan of reorganization or liquidation, or order of any type

or kind entered in (i) these Chapter 11 Cases, (ii) any subsequent chapter 7 case into which these

Chapter 11 Cases may be converted, or (iii) any related proceeding subsequent to entry of this Sale

Order, shall conflict with or derogate from the provisions of the Asset Purchase Agreement or the

terms of this Sale Order. To the extent of any such conflict or derogation, the terms of this Sale

Order shall govern.

       50.     To the extent that this Sale Order is inconsistent with any prior order or pleading

with respect to the Motion, the terms of this Sale Order shall govern.

       51.     To the extent there are any inconsistencies between the terms of this Sale Order, on

the one hand, and the Asset Purchase Agreement or any Transaction Document, on the other hand,

the terms of this Sale Order shall govern.

       52.     The provisions of this Sale Order are non-severable and mutually dependent.




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                       EXHIBIT A

                Asset Purchase Agreement
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                         EXHIBIT B

                    Schedule of Cure Costs
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                                             EXHIBIT C

                                     Adjourned Objections

                Objector [ECF No.]                                       Status

                                           Formal Objections
SLBS Limited Partnership
d/b/a Summit Distributing                                  Adjourned to a date to be determined
[ECF No. 1054]
Archer Daniels Midland Company, ADM Wild
Europe GmbH & Co. KG and Wild Flavors                      Adjourned to a date to be determined
[ECF No. 1040]
LPUSA, LLC, d/b/a Network
                                                           Adjourned to a date to be determined
[ECF No. 1074]
Doehler USA Inc.
                                                           Adjourned to a date to be determined
[ECF No. 1087]
Ally Bank
                                                           Adjourned to a date to be determined
[ECF No. 1090]
Ardagh Metal Packaging USA Corp
                                                           Adjourned to a date to be determined
[ECF No 1101]
Graphic Packaging International
                                                           Adjourned to a date to be determined
[ECF Nos. 1102 & 1480]
Fona International, Inc.
                                                           Adjourned to a date to be determined
[ECF No. 1106]
Prologis Targeted US Logistics Fund L.P.
                                                           Adjourned to a date to be determined
[ECF No. 1108]
Ball Metal Beverage Container Corp
                                                           Adjourned to a date to be determined
[ECF No. 1110]

                                       Informal Objections

Krones Inc.                                                Adjourned to a date to be determined
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                                                 EXHIBIT D7

                      Schedule of Interests Affecting Real Property Located at:
                         1635 S. 43rd Ave., Phoenix, Maricopa County, AZ

11. Deed of Trust, Assignment of Leases and Rents, Security Agreement and Fixture Filing
      Amount:         $541,400,000.00
      Dated:         December 3, 2020
      Grantor:       JHO Real Estate Investment, LLC, a Florida limited liability company
      Trustee:              Stewart Title & Trust of Phoenix, Inc., a Delaware corporation
      Beneficiary: Truist Bank, as Administrative Agent
      Recording Date: December 14, 2020
      Recording No.:        20201230181

16. Mechanic’s Lien
      Claimant:     Nexus Steel, L.L.C.
      Amount:       $313,512.91
      Recording Date: January 20, 2022
      Recording No.:       20220060823

19. Mechanic’s Lien
      Claimant:     Hardrock Concrete Placement Co., Inc.
      Amount:       $669,195.67
      Recording Date:      March 22, 2022
      Recording No.:       20220257254

20. Mechanic’s Lien
      Claimant:     Stellar Group, Inc.
      Amount:       $7,722,974.37
      Recording Date: March 23, 2022
      Recording No.:        20220259809

21. Mechanic’s Lien
      Claimant:     Faith Technologies Incorporated, a Wisconsin corporation
      Amount:       $807,781.00
      Recording Date: March 24, 2022
      Recording No.:       20220266675

22. Mechanic’s Lien
      Claimant:     Faith Technologies Incorporated, a Wisconsin corporation
      Amount:       $2,777,007.15
      Recording Date: March 24, 2022
      Recording No.:       20220266676


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    Number references in this Exhibit are to Schedule B, Part I, of Chicago Title commitment no. CT349230039 Dated
    May 23, 2023, attached as Exhibit E hereto.
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23. Mechanic’s Lien
      Claimant:     HACI Mechanical Contractors, Inc.
      Amount:       $224,126.00
      Recording Date:      April 22, 2022
      Recording No.:       20220357919

26. Notices of Lis Pendens
      Court:          Superior Court of Maricopa County, AZ
      Case No.:       CV2022-008873
      Plaintiff:      Nexus Steel, LLC
      Defendant:      JHO Real Estate Investment, LLC, et al.
      Recording Dates and Recording Nos.:          July 13, 2022, Recording No. 20220570741
                                           August 10, 2022, Recording No. 20220633035
                                           August 25, 2022, Recording No. 20220667523
                                           September 21, 2022, Recording No. 20220726494
                                           October 3, 2022, Recording No. 20220753033
                                           October 21, 2022, Recording No. 20220791939

31. Any lien, or right to a lien, for services, labor, materials or equipment whether or not shown
by the public records.

34. Mechanic’s Lien
      Claimant:     CM Builders, Inc., d/b/a Integrated Masonry
      Amount:       $145,637.30
      Recording Date:      April 4, 2022
      Recording No.:       20220297171
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                         EXHIBIT E

        Schedule B, Part I of Chicago Title Commitment
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                                                                                                         COMMITMENT NO. CT349230039
CHICAGO TITLE INSURANCE COMPANY                                                                                      AMENDMENT 1

                                                   SCHEDULE B, PART I - Requirements

All of the following Requirements must be met:
1.        The Proposed Insured must notify the Company in writing of the name of any party not referred to in this
          Commitment who will obtain an interest in the Land or who will make a loan on the Land. The Company may then
          make additional Requirements or Exceptions.

2.        Pay the agreed amount for the estate or interest to be insured.

3.        Pay the premiums, fees, and charges for the Policy to the Company.

4.        Documents satisfactory to the Company that convey the Title or create the Mortgage to be insured, or both, must
          be properly authorized, executed, delivered, and recorded in the Public Records.

5.        Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
          distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
          Land that is associated with these activities.

6.        Intentionally Deleted

7.        Intentionally Deleted

8.        Intentionally Deleted

9.        The Company will require the following documents for review prior to the issuance of any title insurance predicated
          upon a conveyance or encumbrance from the entity named below.

          Limited Liability Company: Blast Asset Acquisition LLC, a Delaware limited liability company

          a.       A copy of its operating agreement, if any, and any and all amendments, supplements and/or modifications
          thereto, certified by the appropriate manager or member.

          b.       If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendment thereto
          with the appropriate filing stamps.

          c.      If the Limited Liability Company is member-managed a full and complete current list of members certified
          by the appropriate manager or member.

          d.       A current dated certificate of good standing from the proper governmental authority of the state in which
          the entity was created.

          e.     If less than all members, or managers, as appropriate, will be executing the closing documents, furnish
          evidence of the authority of those signing.

          The Company reserves the right to add additional items or make further requirements after review of the
          requested documentation.

10.       Intentionally Deleted

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CHICAGO TITLE INSURANCE COMPANY                                                                                      AMENDMENT 1

                                                   SCHEDULE B, PART I - Requirements
                                                                      (continued)


11.       Furnish for recordation a full release/reconveyance of deed of trust:

          Amount:                     $541,400,000.00
          Dated:                      December 3, 2020
          Trustor/Grantor:            JHO Real Estate Investment, LLC, a Florida Limited Liability Company
          Trustee:                    Stewart Title & Trust of Phoenix, Inc., a Delaware Corporation
          Beneficiary:                Truist Bank
          Recording Date:             December 14, 2020
          Recording No.:              20201230181

          The Deed of Trust set forth above is purported to be a “Credit Line” Deed of Trust. It is a requirement that the
          Trustor/Grantor of said Deed of Trust provide written authorization to close said credit line account to the Lender
          when the Deed of Trust is being paid off through the Company or other Settlement/Escrow Agent or provide a
          satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at closing.

12.       Furnish a copy of the Cancellation Instruction (Credit Line Authorization), signed by the Borrower and sent to the
          Lender, for the Deed of Trust shown in Requirement No. 11.

13.       Intentionally Deleted

14.       Intentionally Deleted


15.       The Company will require that an Owner’s Affidavit be completed by the party(s) named below before the issuance
          of any policy of title insurance.

          Party(s):                   JHO Real Estate Investment, LLC, a Florida limited liability company

          The Company reserves the right to add additional items or make further requirements after review of the
          requested Affidavit.

16.       Furnish for recordation a release of the notice and claim of mechanic’s or materialman’s lien by

          Claimant:                   Nexus Steel, LLC
          Amount:                     $313,512.91
          Recording Date:             January 20, 2022
          Recording No:               20220060823

17.       Intentionally Deleted


18.       Intentionally Deleted


19.       Furnish for recordation a release of the notice and claim of mechanic’s or materialman’s lien by

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CHICAGO TITLE INSURANCE COMPANY                                                                                      AMENDMENT 1

                                                   SCHEDULE B, PART I - Requirements
                                                                      (continued)


          Claimant:                   Hardrock Concrete Placement Co., Inc.
          Amount:                     $669,195.67
          Recording Date:             March 22, 2022
          Recording No:               20220257254


20.       Furnish for recordation a release of the notice and claim of mechanic’s or materialman’s lien by

          Claimant:                   Stellar Group, Inc.
          Amount:                     $7,722,974.37
          Recording Date:             March 23, 2022
          Recording No:               20220259809


21.       Furnish for recordation a release of the notice and claim of mechanic’s or materialman’s lien by

          Claimant:                   Faith Technologies Incorporated, a Wisconsin Corporation
          Amount:                     $807,781.00
          Recording Date:             March 24, 2022
          Recording No:               20220266675

22.       Furnish for recordation a release of the notice and claim of mechanic’s or materialman’s lien by

          Claimant:                   Faith Technologies Incorporated, a Wisconsin Corporation
          Amount:                     $2,777,007.15
          Recording Date:             March 24, 2022
          Recording No:               20220266676

23.       Furnish for recordation a release of the notice and claim of mechanic’s or materialman’s lien by

          Claimant:                   HACI Mechanical Contractors, Inc.
          Amount:                     $224,126.00
          Recording Date:             April 22, 2022
          Recording No:               20220357919

24.       Intentionally Deleted


25.       Intentionally Deleted


26.       Dismiss the pending court action referred to below and furnish for recordation a release of the lis pendens:

          Court:                                    Superior Court
          Case No:                                  CR2022-008873

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CHICAGO TITLE INSURANCE COMPANY                                                                                      AMENDMENT 1

                                                   SCHEDULE B, PART I - Requirements
                                                                      (continued)

          County:                                   Maricopa
          Plaintiff:                                Nexus Steel, LLC, an Arizona limited liability company
          Defendant:                                JHO Real Estate Investment, LLC, a Florida Limited Liability Company, et al
          Lis Pendens Recording Date:               July 13, 2022
          Lis Pendens Recording No:                 20220570741, and recorded August 10, 2022 in
          Lis Pendens Recording No:                 20220633035, and recorded August 25, 2022 in
          Lis Pendens Recording No:                 20220667523, and recorded September 21, 2022 in
          Lis Pendens Recording No:                 20220726494, and recorded October 3, 2022 in
          Lis Pendens Recording No:                 20220753033, and recorded October 21, 2022
          Lis Pendens Recording No:                 20220791939

27.       Institute proceedings in the bankruptcy court where a petition was filed:

          Name of Debtor:      JHO Real Estate Investment, LLC, a Florida Limited Liability Company
          U.S. District Court: Southern District of Florida, Fort Lauderdale Division
          Case No.             22-17847-SMG

          Leading to the entry of a Final Non-appealable Order

          Authorizing the transaction to be insured.

          Provide a certified copy of the Order called for above.

          The Company reserves the right to add additional items or make further requirements after review of the
          requested documentation.

28.       Intentionally Deleted

29.       Furnish for recordation a deed as set forth below:

          Type of deed:         Warranty Deed
          Grantor(s):           JHO Real Estate Investment, LLC
          Grantee(s):           Purchaser with contractual rights

          Note: ARS 11:1133 may require the completion and filing of an Affidavit of Value.




30.       Intentionally Deleted

31.       Information reviewed and/or in the possession of the Company indicates that improvements to the land are being
          contemplated, are underway or recently completed. Furnish documents required by the Company for review and
          approval by Company’s Corporate Underwriting Department. Documents requested for review will be used to
          determine if an indemnification by the seller/borrower, and/or contractor will be acceptable to the Company. Any

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CHICAGO TITLE INSURANCE COMPANY                                                                                      AMENDMENT 1

                                                   SCHEDULE B, PART I - Requirements
                                                                      (continued)

          indemnity must be on the Company’s form. Spouses and individual principals of corporations or other entities may
          be required to join in the execution of said indemnity.

          Please contact your Escrow Officer or Title Officer for clarification as to what documentation will be needed to
          begin the underwriting review process.

          The Company reserves the right to add additional items or make further requirements after review of the
          requested documentation.

32.       The transaction contemplated in connection with this Report is subject to the review and approval of the
          Company’s Corporate Underwriting Department. The Company will require a liability amount and list of requested
          endorsements prior to submitting the transaction for said approval. Failure to provide this information may result in
          the closing being delayed.

          The Company reserves the right to add additional items or make further requirements after review of the
          requested documentation.

33.       Notwithstanding anything to the contrary in this Commitment, upon entry of a sale order that is not subject to
          appeal in JHO Real Estate Investment LLC’s pending chapter 11 bankruptcy case (which sale order contains “free
          and clear” language pursuant to section 363 of the United States Bankruptcy Code acceptable to Chicago Title
          and the motion seeking which was properly served on the parties named in the following listed Requirements),
          each of Requirements 11, 16, 19, 20, 21 - 23, 26, 31 and 34 of this Schedule B, Part 1 shall conclusively be
          deemed satisfied



34.       Furnish for recordation a release of the notice and claim of mechanic’s or materialman’s lien by

          Claimant:                   Integrated Masonry
          Amount:                     $145,637.30
          Recording Date:             April 4, 2022
          Recording No:               20220297171

          Tax Note:

          Year:                      2022
          Tax Parcel No:             105-14-001Q
          Total Tax:                 $401,833.68
          First Installment Amount:  $PAID
          Second Installment Amount: $PAID

          Note: Any documents being executed in conjunction with this transaction must be signed in the presence of an
          authorized Company employee, an authorized employee of a Company agent, an authorized employee of the
          insured lender, or by using Bancserv or other Company-approved third-party service. If the above requirement
          cannot be met, please call the Company at the number provided in this report.



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CHICAGO TITLE INSURANCE COMPANY                                                                                      AMENDMENT 1

                                                   SCHEDULE B, PART I - Requirements
                                                                      (continued)

                                                        END OF SCHEDULE B, PART I




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                        Exhibit B

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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION
                                         www.flsb.uscourts.gov

    In re:                                                            Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,                              Case No.: 22-17842-PDR

             Debtors.1                                                (Jointly Administered)
                                                          /

           ORDER (I) AUTHORIZING AND APPROVING (A) THE SALE OF
        SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR
      OF ALL LIENS, CLAIMS, AND ENCUMBRANCES AND (B) THE ASSUMPTION
     AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
    LEASES IN CONNECTION THEREWITH, AND (II) GRANTING RELATED RELIEF

             Upon the motion [ECF No. 707] (the “Motion”)2 of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) for entry of an order (this “Sale Order”),

(i) authorizing (a) the sale of substantially all of the Debtors’ assets free and clear of all claims,

liens, liabilities, rights, interests, and encumbrances (except for Assumed Liabilities and Permitted

Encumbrances) , and (b) the assumption and assignment of certain of the Debtors’ executory

contracts and unexpired leases, and (ii) granting related relief; and this Court having entered the

Order (I) Approving Bidding Procedures, (II) Authorizing the Debtors to Provide Bid Protections,

and (III) Granting Related Relief [ECF No. 854] (the “Bidding Procedures Order”);3 and




1
      The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
      tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (“Vital Pharmaceuticals”) (8430); (ii) Bang Energy
      Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC
      (9394); (v) Quash Seltzer, LLC (“Quash Seltzer”) (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital
      Pharmaceuticals International Sales, Inc. (8019).
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in, as applicable,
      the Asset Purchase Agreement (as defined herein), or if not defined therein, the Motion, or the Bidding Procedures
      Order (as defined herein).
3
      [If a Stalking Horse Bidder is approved by a Court order, insert “and the [Stalking Horse Order [ECF No. [  ]]
      approving the Stalking Horse Bidder, the Stalking Horse Agreement and the Bid Protections, each as defined
      below (the “Stalking Horse Order”).”]



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[  ]Blast Asset Acquisition LLC, the buyer (the “Buyer”) , having been selected as the Successful

Bidder; and upon the Buyer and certain of the Debtors [and certain of their non-Debtor affiliates]

having entered into that certain Asset Purchase Agreement, dated as of [  ]June 28, 2023, a copy

of which is attached hereto as Exhibit A (as may be amended, modified, or supplemented in

accordance with the terms of this Sale Order and such agreement, the “Asset Purchase

Agreement”); and this Court having reviewed the 9019 Motion; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors, their estates, their creditors,

and other parties in interest; and this Court having considered the [  ] Declaration; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate and no other notice need be provided; and this Court having reviewed the Motion

and a hearing having been held to consider the relief requested in the Motion (the “Sale Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and

evidence adduced at the Sale Hearing or otherwise establish just cause for the relief granted herein;

and upon all of the proceedings had before this Court and at the Sale Hearing; and after due

deliberation thereon; and good and sufficient cause appearing therefor,

         THE COURT HEREBY FINDS THAT:43

                                                JURISDICTION

         A.       This Court has jurisdiction to hear and determine the Motion under 28 U.S.C.

§§ 157 and 1334. This is a core proceeding under 28 U.S.C. § 157(b).

         B.       Venue of the Debtors’ above-captioned chapter 11 cases (these “Chapter 11 Cases”)

and the Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409.


43
     The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
     pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
     the extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To
     the extent any of the following conclusions of law constitute findings of fact, they are adopted as such.


                                                          2
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         C.        This Sale Order constitutes a final order within the meaning of 28 U.S.C. § 158(a).

Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent necessary under

Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil Procedure, as made applicable

by Bankruptcy Rule 7054, this Court expressly finds that there is no just reason for delay in the

implementation of this Sale Order, and expressly directs entry of this Sale Order as set forth herein.

         D.        The statutory predicates for the relief sought in the Motion are sections 105(a), 363,

and 365 of the Bankruptcy Code, as supplemented by Bankruptcy Rules 2002, 6004, 6006, 9007,

9008, and 9014, and the applicable Local Rules.

              NOTICE OF THE SALE, AUCTION AND THE CURE PAYMENTS

         E.        As evidenced by the affidavits and/or certificates of service filed with the Court,54

proper, timely, adequate, and sufficient notice of, inter alia, the Motion, the Bidding Procedures,

the Assumption and Assignment Procedures, the Asset Purchase Agreement, the Auction, the sale

of the Purchased Assets pursuant to the terms of the Asset Purchase Agreement and this Sale Order




54
     Such affidavits and/or certificates of service were filed by the Debtors at [ECF NosNo.[ 710] (certificate of service
     regarding the Motion); [ECF No. 735] (certificate of service regarding hearing on Motion); [ECF No. 841]
     (certificate of service regarding revised Bidding Procedures Order and declaration in support of Bidding
     Procedures); [ECF No. 847] (certificate of service regarding extension of certain transaction deadlines); [ECF
     No. 909] (certificate of publication of Sale Notice); [ECF No. 911] (certificate of service of Bidding Procedures
     Order and Sale Notice); [ECF No. 927] (certificate of service of initial Assumption Notice (as defined herein)
     and proposed form of Sale Order); [ECF No. 1014] (certificate of service of first supplemental Assumption
     Notice); [ECF No. 1042] (certificate of service of Sale Notice); [ECF No. 1125] (certificate of service of Sale
     Notice and initial Assumption Notice); [ECF No. 1155] (certificate of service of initial Assumption Notice); [ECF
     No. 1186] (certificate of service of initial Assumption Notice and Sale Notice); [ECF No. 1252] (certificate of
     service of initial Assumption Notice and Sale Notice); [ECF No. 1305] (certificate of service of extension of
     transaction deadlines); [ECF No. 1360] (certificate of service of Sale Order and initial Assumption Notice); [ECF
     No. 1383] (certificate of service of Sale Notice and initial Assumption Notice); [ECF No. 1392] (certificate of
     service of Sale Notice and extension of certain transaction milestones); [ECF No. 1403] (certificate of service of
     notice of adjournment of Auction); [ECF No. 1414] (certificate of service of Sale Notice and extension of certain
     transaction milestones); [ECF No. 1439] (certificate of service of extension of certain transaction milestones and
     adjournment of Auction); [ECF No. 1462] (certificate of service of extension of certain transaction milestones
     and adjournment of Auction); [ECF No. 1464] (certificate of service of extensions of certain transaction
     milestones,  ].including the Sale Hearing); [ECF No. 1493] (supplemental certificate of service of notice of
     adjournment of Auction and extensions of certain transaction milestones, including the Sale Hearing); and [ECF
     No. 1541] (certificate of service of notice of adjournment of Sale Hearing).

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(the “Sale”), the Sale Hearing, and all deadlines related thereto, has been provided in accordance

with sections 363 and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, 9007,

9008, and 9014, and in compliance with the Bidding Procedures Order, to all parties required to

receive such notice.

        F.       The Debtors served the Notice of Proposed Sale, Bidding Procedures, Auction, and

Sale Hearing [ECF No. 856] (the “Sale Notice”) on all parties required to receive such notice

under the Bidding Procedures Order and applicable rules, published such notice in The New York

Times and posted the Sale Notice on the Debtors’ Case Website. Such publication of the Sale

Notice conforms to the requirements of the Bidding Procedures Order and Bankruptcy Rules

2002(l) and 9008 and was reasonably calculated to provide notice to any affected party and afford

any affected party the opportunity to exercise any rights related to the Motion and the relief granted

by this Sale Order. Service and publication of the Sale Notice was appropriate and reasonably

calculated to provide all interested parties with timely and proper notice of the sale of the

Purchased Assets, including the proposed sale of the Purchased Assets free and clear of all liens,

claims, encumbrances, and interests (other than Assumed Liabilities and Permitted

Encumbrances), the Sale, the Bidding Procedures, the Auction, and the Sale Hearing.

        G.       The Debtors served the (i) Notice of (I) Executory Contracts and Unexpired Leases

that May be Assumed and Assigned in Connection with a Sale of the Debtors’ Assets and (II) the

Proposed Cure Costs with Respect Thereto [ECF No. 893]; (ii) Supplemental Notice of

(I) Executory Contracts and Unexpired Leases that May be Assumed and Assigned in Connection

with a Sale of the Debtors’ Assets and (II) the Proposed Cure Costs with Respect Thereto [  ]]

(ECF No. 995]; and (iii) Second Supplemental Notice of (I) Executory Contracts and Unexpired

Leases that May be Assumed and Assigned in Connection with a Sale of the Debtors’ Assets and



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(II) the Proposed Cure Costs with Respect Thereto [ECF No. 1460] (together, the “Assumption

Notice”) on each of the counterparties to the Assigned Contracts Assumed Agreements and

Assumed Real Property Leases in accordance with the Assumption and Assignment Procedures

and the Bidding Procedures Order. The service of the Assumption Notice was sufficient under the

circumstances and in full compliance with the Assumption and Assignment Procedures and the

Bidding Procedures Order, and no further notice need be provided in respect of the Debtors’

assumption and assignment to the Buyer of the Assigned Contracts Assumed Agreements and

Assumed Real Property Leases that have been (or may be) selected by the Buyer to be assumed

and assigned in connection with the Sale5 (collectively, the “Assumed Agreements and Assumed

Real Property Leases”6) or the Cure Costs (as defined in the Assumption Notice or as otherwise

agreed by the Buyer and the counterparty to any Assumed Agreements or Assumed Real Property

Leases). All counterparties to the Assumed Agreements and Assumed Real Property Leases have

had an adequate opportunity to object to the assumption and assignment of the Assumed

Agreements and Assumed Real Property Leases and the Cure Costs. Service of the Assumption

Notice was appropriate and reasonably calculated to provide all interested parties with timely and

proper notice of the potential assumption and assignment of the Assumed Agreements and

Assumed Real Property Leases in connection with the sale of the Purchased Assets and the related

Cure Costs.7



5
    For avoidance of doubt, as used herein, Assumed Agreements and Assumed Real Property Leases shall only
    include those Assumed Agreements and Assumed Real Property Leases to which a Debtor is a party.
6
    For avoidance of doubt, as used herein Assumed Agreements and Assumed Real Property Leases shall only
    include those Assumed Agreements and Assumed Real Property Leases to which a Debtor is a party.
7
    [If a Stalking Horse Bidder is approved, insert: “The Debtors served the [Stalking Horse Selection Motion] [ECF
    No. [  ]] (the “Stalking Horse Selection Motion”), on all parties required to receive such notice under the
    Bidding Procedures Order and applicable rules. Service of the Stalking Horse Selection Motion was appropriate
    and reasonably calculated to provide all interested parties with timely and proper notice of execution of the
    [Stalking Horse Agreement] (the “Stalking Horse Agreement”) by and between the Debtors and [  ] (the
    “Stalking Horse Bidder”), pursuant to which the Debtors agreed, subject to Court approval, to pay the Bid

                                                        5
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        H.       The Debtors served the Notice of Auction Cancellation and Successful and Back-

up Bidders with Respect to the Auction of the Debtors’ Assets Bidder [ECF No. [  ]] (the “Post-

Auction Designation Notice”) on all parties required to receive such notice under the Bidding

Procedures Order and applicable rules. Service of the Post-Auction Notice was appropriate and

reasonably calculated to provide all interested parties with timely and proper notice of the

conclusion of the Auction and the identity of the Successful Bidder and Back-Up BidderBecause

only one Qualified Bid was received for substantially all of the Debtors’ assets, which was

submitted by the Buyer, no Auction was conducted.

        I.       The notice described in the foregoing paragraphs is due, proper, timely, adequate,

and sufficient notice of the Motion, the Auction, the Bidding Procedures, the Sale Hearing, the

assumption and assignment of the Assumed Agreements and Assumed Real Property Leases, the

Sale, and the entry of this Sale Order, and has been provided to all parties in interest. Such notice

was, and is, good, sufficient, and appropriate under the circumstances of these Chapter 11 Cases,

provided a fair and reasonable opportunity for parties in interest to object, and to be heard, with

respect thereto, and was timely provided in accordance with sections 363 and 365 of the

Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006, 9007, 9008 , and 9014, and the applicable

Local Rules. Accordingly, no other or further notice with respect to such matters is necessary or

shall be required.

                                         BUSINESS JUDGMENT

        J.       The Debtors have demonstrated good, sufficient, and sound business purposes and

justifications for, and compelling circumstances to promptly consummate, the Sale and the other

transactions contemplated by the Asset Purchase Agreement and related documents (together with



    Protections as set forth in the Stalking Horse Agreement.]

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the Asset Purchase Agreement, the “Transaction Documents”), including, without limitation, the

assumption, assignment, and/or transfer of the Assumed Agreements and Assumed Real Property

Leases (collectively, the “Transaction”) pursuant to sections 105, 363, and 365 of the Bankruptcy

Code, prior to and outside of a plan of reorganization, and such action is an appropriate exercise

of the Debtors’ business judgment and in the best interests of the Debtors, their estates, and their

creditors. Such business reasons include, but are not limited to, the fact that: (i) there is substantial

risk that the Debtors will lose access to the financing necessary to maintain their day-to-day

business operations, including, among other reasons, the impending maturity of the DIP Facility;

(ii) the Asset Purchase Agreement and the Closing present the best opportunity to maximize the

value of the Debtors’ estates; (iii) the cash proceeds from the Sale, once consummated, will be

used to indefeasibly pay in full the outstanding obligations under the DIP Facility and the

Prepetition Obligations (as such term is defined in the Final DIP Order) at Closing and the

remaining proceeds shall be used to satisfy the claims of the Debtors’ other prepetition secured

creditors in accordance with this Sale Order or further order of this Court, which for the avoidance

of doubt, may be the order confirming a chapter 11 plan for the Debtors; and (ivand (iii) unless the

Sale is concluded expeditiously as provided for in this Sale Order and pursuant to the Asset

Purchase Agreement, potential creditor recoveries may be substantially diminished.

                       GOOD FAITH OF THE BUYER; NO COLLUSION

        K.       The Buyer is purchasing the Purchased Assets in good faith and is a good faith

purchaser within the meaning of section 363(m) of the Bankruptcy Code, and therefore is entitled

to, and granted pursuant to paragraph 33 35 below, the full rights, benefits, privileges, and

protections of that provision, and has otherwise proceeded in good faith in all respects in

connection with the Transaction in that, inter alia: (i) the Buyer recognized that the Debtors were

free to deal with any other party interested in acquiring the Purchased Assets; (ii) the Buyer

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complied with the provisions in the Bidding Procedures Order; (iii) the Buyer agreed to subject its

bid to the competitive bidding procedures set forth in the Bidding Procedures Order; (iv) all

payments to be made by the Buyer and other agreements or arrangements entered into by the Buyer

in connection with the Sale have been disclosed; and (v) the negotiation and execution of the Asset

Purchase Agreement and the other Transaction Documents were at arms’ length and in good faith.

        L.       None of the Debtors, the Buyer, any other party in interest, or any of their respective

Representatives has engaged in any conduct that would cause or permit the Asset Purchase

Agreement or any of the Transaction Documents, or the consummation of the Transaction, to be

avoidable or avoided, or for costs or damages to be imposed, under section 363(n) of the

Bankruptcy Code, or has acted in bad faith or in any improper or collusive manner with any Person

or Entity (each as defined in the Bankruptcy CodeAsset Purchase Agreement) in connection

therewith.

                           HIGHEST OR OTHERWISE BEST OFFER

        M.       In accordance with the Bidding Procedures Order, the Asset Purchase Agreement

was deemed a Qualified Bid and the Buyer was eligible to participate in the Auction for the

Purchased Assets.

        N.       The Debtors conducted a competitive marketing and auction sale process in

accordance with, and have otherwise complied in all material respects with, the Bidding

Procedures Order, and accordingly have afforded a full, fair, and reasonable opportunity for any

Person or Entity to make a higher or otherwise better offer to purchase the Purchased Assets.

        O.       The Asset Purchase Agreement constitutes the highest or otherwise best offer for

the Purchased Assets and represents a fair and reasonable offer to purchase the Purchased Assets

under the totality of circumstances of these Chapter 11 Cases.



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         P.       The Transaction described in the Asset Purchase Agreement will provide a greater

benefit to the Debtors, their estates, and their creditors than any alternative transaction.

                                    NO FRAUDULENT TRANSFER

         Q.       The Asset Purchase Agreement and the other Transaction Documents were not

entered into, and the Transaction is not being consummated, for the purpose of hindering, delaying,

or defrauding creditors of the Debtors under applicable law, and none of the parties to the Asset

Purchase Agreement or parties to any of the other Transaction Documents are consummating the

Transaction with any fraudulent or otherwise improper purpose. The purchase price for the

Purchased Assets constitutes reasonably equivalent value, fair consideration and fair value for the

conveyance of such Purchased Assets under the Bankruptcy Code, the Uniform Fraudulent

Transfer Act, the Uniform Voidable Transactions Act, the Uniform Fraudulent Conveyance Act,

and any other applicable laws of the United States, any state, territory, or possession, the District

of Columbia or any applicable foreign laws.

                                       VALIDITY OF TRANSFER

         R.       The Debtors have full corporate power and authority (i) to seek approval of and

perform all of their obligations under the Asset Purchase Agreement and the other Transaction

Documents ; and (ii) to consummate the Transaction. Subject to the entry of this Sale Order, no

further consents or approvals are required for the Debtors to consummate the Transaction or

otherwise perform their obligations under the Asset Purchase Agreement or the Transaction

Documents, except in each case as otherwise expressly set forth in the Final DIP Order (which

consents or approvals have already been obtained),86 the Asset Purchase Agreement, or the other

applicable Transaction Documents..


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     The “Final DIP Order” means the Final Order (I) Approving Postpetition Financing, (II) Authorizing Use Of
     Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting

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        S.       As of the date of the closing of the Transaction (“Closing,” and such date, the

“Closing Date”), the transfer of the Purchased Assets to the Buyer, including, without limitation,

the assumption, assignment, and transfer of the Assumed Agreements and Assumed Real Property

Leases, will be a legal, valid, and effective transfer thereof, and will vest the Buyer with The

Debtors’ rights, title, and interest in the Purchased Assets constitute property of the Selling

Entities’ bankruptcy estates and title thereto is vested in their estates within the meaning of section

541(a) of the Bankruptcy Code. As of the date of the closing of the Transaction (“Closing,” and

such date, the “Closing Date”), the transfer of the Purchased Assets to the Buyer, including,

without limitation, the assumption, assignment, and transfer of the Assumed Agreements and

Assumed Real Property Leases, will be a legal, valid, and effective transfer thereof, and will vest

the Buyer with good and marketable title to, and all right, title, and interest of the Debtors in and

to the Purchased Assets, free and clear of all Interests (as defined below) except for Assumed

Liabilities and Permitted Encumbrances accruing or arising any time prior to the Closing Date,

except as expressly set forth in the Asset Purchase Agreement.

                               SECTION 363(f363(F) IS SATISFIED

        T.       The Buyer would not have entered into the Asset Purchase Agreement and would

not consummate the transaction contemplated thereby if the sale of the Purchased Assets, including

the assumption, assignment, and transfer of the Assumed Agreements and Assumed Real Property

Leases to the Buyer, were not free and clear of all Interests of any kind or nature whatsoever

(except for Assumed Liabilities and Permitted Encumbrances), or if the Buyer or any of its

affiliates, subsidiaries, or any of its Representatives would, or in the future could, be liable for any

such Interests (except for Assumed Liabilities and Permitted Encumbrances).


    Adequate Protection, (V) Modifying Automatic Stay, and (VI) Granting Related Relief entered on January 12,
    2023 [ECF No. 638].

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        U.       The Debtors may sell or otherwise transfer the Purchased Assets free and clear of

all Interests (except for Assumed Liabilities and Permitted Encumbrances) to the extent set forth

herein because, in each case, one or more of the standards set forth in section 363(f)(1)-(5) of the

Bankruptcy Code has been satisfied. Those holders of Interests against the Debtors, their estates,

or any of the Purchased Assets who did not object, or who withdrew their objection to the Sale or

the Motion, are deemed to have consented thereto pursuant to section 363(f)(2) of the Bankruptcy

Code. Those holders of such Interests who did object fall within one or more of the other

subsections of section 363(f) and are adequately protected by the terms of this Sale Order,

including, as applicable, by having their Interests, if any, attach to the portion of the Sale Proceeds

(as defined below) attributable to the Purchased Assets in which such creditor alleges or asserts an

Interest, in the same order of priority, with the same validity, force, and effect, that such creditor

had against the Purchased Assets immediately prior to consummation of the Sale, subject to any

claims and defenses the Debtors and their estates may possess with respect thereto.

        V.       As used in this Sale Order, the terms “Interest” and “Interests” include all of the

following, in each case, to the extent against or with respect to the Debtors, or in, on, or against,

or with respect to any of the Purchased Assets: liens (including as defined in section 101(37) of

the Bankruptcy Code, and whether consensual, statutory, possessory, judicial, or otherwise),

claims (as defined in section 101(5) of the Bankruptcy Code) (“Claims”), debts (as defined in

section 101(12) of the Bankruptcy Code), encumbrances, obligations, liabilities, demands,

guarantees, actions, suits, defenses, deposits, credits, allowances, options, rights, restrictions,

limitations, contractual commitments, or interests of any kind or nature whatsoever, whether

known or unknown, choate or inchoate, filed or unfiled, scheduled or unscheduled, noticed or

unnoticed, recorded or unrecorded, perfected or unperfected, allowed or disallowed, contingent or



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noncontingent, liquidated or unliquidated, matured or unmatured, material or non-material,

disputed or undisputed, whether arising prior to, on , or subsequent to , the commencement of these

Chapter 11 Cases, and in each case, whether imposed by agreement, understanding, law, equity,

or otherwise, including, but not limited to, (a: (i) mortgages, security deeds, deeds of trust, pledges,

charges, security interests, levies, hypothecations, encumbrances, easements, servitudes, leases,

subleases, licenses, rights-of-way, encroachments, restrictive covenants, restrictions on

transferability, voting, sale, transfer or other similar restrictions, rights of setoff (except for setoffs

validly exercised before the Petition Date, or preserved in a timely filed proof of claim or motion

filed with the Court), rights of use or possession, conditional sale arrangements, deferred purchase

price obligations, profit sharing interest, or any similar rights; (bii) all Claims, including, without

limitation, all rights or causes of action (whether in law or equity), proceedings, warranties,

guarantees, indemnities, rights of recovery, setoff (except for setoffs validly exercised before the

Petition Date, or preserved in a timely filed proof of claim or motion filed with the Court),

indemnity or contribution, obligations, demands, restrictions, indemnification claims, or liabilities

relating to any act or omission of the Debtors or any other Person or Entity, consent rights, options,

contract rights, covenants, and interests of any kind or nature whatsoever (known or unknown,

matured or unmatured, accrued, or contingent and regardless of whether currently exercisable),

whether arising prior to or subsequent to the commencement of these Chapter 11 Cases, and

whether imposed by agreement, understanding, law, equity, or otherwise; (ciii) all debts, liabilities,

obligations, contractual rights and claims, and including labor, employment, and pension claims;

(div) any rights that purport to give any party a right or option to effect any forfeiture, modification,

right of first offer or first refusal, or consents, or termination of the Debtors’ or the Buyer’s interest

in the Purchased Assets, or any similar rights; (ev) any rights under labor or employment



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agreements; (fvi) any rights under pension, multiemployer plan (as such term is defined in

section 3(37) or section 4001(a)(3) of the Employment Retirement Income Security Act of 1974

(as amended, “ERISA”)), health or welfare, compensation or other employee benefit plans,

agreements, practices, and programs, including, without limitation, any pension plans of the

Debtors or any multiemployer plan to which the Debtors have at any time contributed to or had

any liability or potential liability; (gvii) any other employee claims related to worker’s

compensation, occupation disease, or unemployment or temporary disability, including, without

limitation, claims that might otherwise arise under or pursuant to (ia) ERISA, (iib) the Fair Labor

Standards Act, (iiic) Title VII of the Civil Rights Act of 1964, (ivd) the Federal Rehabilitation Act

of 1973, (ve) the National Labor Relations Act, (vif) the Age Discrimination and Employment Act

of 1967 and the Age Discrimination in Employment Act, each as amended, (viig) the Americans

with Disabilities Act of 1990, (viiih) the Consolidated Omnibus Budget Reconciliation Act of

1985, as amended, including, without limitation, the requirements of Part 6 of Subtitle B of Title

I of ERISA and Section 4980B of the Internal Revenue Code of any similar state law, (ix(i) state

discrimination laws, (xj) state unemployment compensation laws or any other similar state laws,

(xik) any other state or federal benefits or claims relating to any employment with the Debtors or

any of their predecessors, or (xiil) the WARN Act (29 U.S.C. §§ 2101, et seq.) or any state or other

laws of similar effect; (hviii) any bulk sales or similar law; (i(ix) any tax statutes or ordinances or

other laws of similar effect, including, without limitation, the Internal Revenue Code of 1986, as

amended, and any taxes arising under or out of, in connection with, or in any way relating to the

operation of the Purchased Assets before the closing of a Sale; (jx) any unexpired and executory

contract or unexpired lease to which the Debtors are a party that is not an Assumed Agreements

Agreement or Assumed Real Property LeasesLease; (kxi) any other excluded liabilities under the



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Asset Purchase Agreement; and (lxii) Interests arising under or in connection with any acts, or

failures to act, of the Debtors or any of their predecessors, affiliates, or subsidiaries, including, but

not limited to, Interests arising under any doctrines of successor liability (to the greatest extent

permitted by applicable law), or transferee or vicarious liability, violation of the Securities Act,

the Exchange Act, or other applicable securities laws or regulations, breach of fiduciary duty, or

aiding or abetting breach of fiduciary duty, or any similar theories under applicable law or

otherwise.

                         NOT A SUCCESSOR; NOT A SUB ROSA PLAN

        W.       The Buyer is not, and shall not be deemed to, as a result of any action taken in

connection with the Transaction: (i) be a successor to or a mere continuation or substantial

continuation (or other such similarly situated party) to the Debtors or their estates; or (ii) have, de

facto or otherwise, merged or consolidated with or into the Debtors; provided that, notwithstanding

the foregoing, the Buyer may be, and the arguments of the Debtors and the Buyer are preserved as

to whether, Buyer is in privity with Debtors for purposes of res judicata analyses.

        X.       The Sale does not constitute a de facto plan of reorganization or liquidation or an

element of such a plan for the Debtors, as it does not and does not propose to : (i) impair or

restructure existing debt of, or equity interests in, the Debtors; (ii) impair or circumvent voting

rights with respect to any future plan proposed by the Debtors; (iii) circumvent Chapter 11 plan

safeguards, such as those set forth in sections 1125 and 1129 of the Bankruptcy Code; or

(iv) classify   claims   or   equity   interests,   compromise controversies,        or extend      debt

maturities.impermissibly restructure the rights of the Debtors’ creditors nor impermissibly dictate

the terms of a chapter 11 plan for the Debtors.




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        ASSUMPTION, ASSIGNMENT AND/OR TRANSFER OF THE ASSUMED
            AGREEMENTS AND ASSUMED REAL PROPERTY LEASES

        Y.       The Debtors have demonstrated that (i) that it is an exercise of their sound business

judgment to assume and assign the Assumed Agreements and Assumed Real Property Leases to

the Buyer in each case in connection with the consummation of the Transaction , and (ii) that the

assumption and assignment of the Assumed Agreements and Assumed Real Property Leases to

the Buyer is in the best interests of the Debtors, their estates, their creditors, and other parties in

interest. The Assumed Agreements and Assumed Real Property Leases being assigned to the

Buyer are an integral part of the Purchased Assets being purchased by the Buyer and, accordingly,

such assumption, assignment and cure of any defaults under the Assumed Agreements and

Assumed Real Property Leases are reasonable and enhance the value of the Debtors’ estates. Each

and every provision of the documents governing the Purchased Assets or applicable non-

bankruptcy law that purports to prohibit, restrict, or condition, or could be construed as prohibiting,

restricting, or conditioning assignment of any of the Purchased Assets, if any, have been or will be

satisfied or are otherwise unenforceable under section 365 of the Bankruptcy Code. Any non-

Debtor counterparty to an Assumed Agreement or Assumed Real Property Lease that has not filed

with this Court an objection to such assumption and assignment in accordance with the terms of

the Motion and the Assumption Notice is deemed to have consented to such assumption and

assignment.

        Z.       To the extent necessary or required by applicable law, the Debtors (or the Buyer on

behalf of the Debtors) has or will have as of the Closing Date: (i) cured, or provided adequate

assurance of cure, of any default existing prior to the Closing Date with respect to the Assumed

Agreements and Assumed Real Property Leases, within the meaning of sections 365(b)(1)(A) and

365(f)(2)(A) of the Bankruptcy Code, and (ii) provided compensation, or adequate assurance of


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compensation, to any party for any actual pecuniary loss to such party resulting from such default,

within the meaning of section 365(b)(1)(B) of the Bankruptcy Code. The respective amounts

Subject to the terms of this Sale Order, and except as otherwise determined by separate order of

the Court after the date hereof, the respective Cure Costs set forth on Exhibit [__] B hereto are the

sole amounts necessary under sections 365(b)(1)(A) and 365(f)(2)(A) of the Bankruptcy Code to

cure all such monetary defaults and pay all actual pecuniary losses under the Assumed Agreements

and Assumed Real Property Leases.

        AA.      The promise of the Buyer to perform (and the Buyer’s financial wherewithal to

perform) the obligations first arising under the Assumed Agreements and Assumed Real Property

Leases after their assumption and assignment to the Buyer constitutes adequate assurance of future

performance within the meaning of sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy

Code to the extent that any such assurance is required and not waived by the counterparties to such

Assumed Agreements and Assumed Real Property Leases. Any Except for those objections and

other disputes listed as adjourned on Exhibit C (collectively, the “Adjourned Objections”), any

objections to the foregoing, the determination of any Cure Costs, or otherwise related to or in

connection with the assumption, assignment, or transfer of any of the Assumed Agreements and

Assumed Real Property Leases to the Buyer are hereby overruled on the merits or otherwise treated

as set forth in paragraph 3 below. Those non-Debtor counterparties to Assumed Agreements and

Assumed Real Property Leases who did not object to the assumption, assignment, or transfer of

their applicable Assumed Agreement or Assumed Real Property Lease, or to their applicable Cure

Cost, are deemed to have consented thereto for all purposes of this Sale Order. All rights of the

parties with respect to the issues raised in the Adjourned Objections are preserved.




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              COMPELLING CIRCUMSTANCES FOR AN IMMEDIATE SALE

        BB.      Time is of the essence in consummating the Transaction. In order to maximize the

value of the Purchased Assets, it is essential that the sale and assignment of the Purchased Assets

occur within the time constraints set forth in the Asset Purchase Agreement. This Sale Order

constitutes a final order within the meaning of 28 U.S.C. § 158(a). Notwithstanding Bankruptcy

Rules 6004(h) and 6006(d), and to any extent necessary under Bankruptcy Rule 9014 and Rule

54(b) of the Federal Rules of Civil Procedure, as made applicable by Bankruptcy Rule 7054, this

Court expressly finds that there is no just reason for delay in the implementation of this Sale Order,

and, sufficient cause having been shown, waives any such stay, and expressly directs entry of this

Sale Order as set forth herein. The Debtors have demonstrated compelling circumstances and a

good, sufficient and sound business purpose and justification for the immediate approval and

consummation of the Transaction as contemplated by the Asset Purchase Agreement. The Buyer,

being a good faith purchaser under section 363(m) of the Bankruptcy Code, may close the

Transaction contemplated by the Asset Purchase Agreement at any time after entry of this Sale

Order, subject to the terms and conditions of the Asset Purchase Agreement.

        CC.      The consummation of the Transaction is legal, valid, and properly authorized under

all applicable provisions of the Bankruptcy Code, including, without limitation, sections 105, 363,

and 365 of the Bankruptcy Code, and all of the applicable requirements of such sections have been

complied with in respect of the Transaction.




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        NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

THAT:

                                    GENERAL PROVISIONS

        1.       The Motion, and the relief requested therein, is granted and approved, and the

Transaction contemplated thereby and by the Asset Purchase Agreement and Transaction

Documents are approved, in each case as set forth in this Sale Order.

        2.       This Court’s findings of fact and conclusions of law set forth in the Bidding

Procedures Order [and the order approving the Stalking Horse Bid] are incorporated herein in their

entirety by reference.

        3.       All Other than the Adjourned Objections, which are hereby preserved pending

further order of the Court, all objections to the Motion or the relief requested therein that have not

been withdrawn, waived, resolved, adjourned, or otherwise settled as set forth herein, as

announced to this Court at the Sale Hearing or by stipulation filed with this Court, and all

reservations of rights included therein, are hereby denied and overruled on the merits. Those

parties who did not object to the Motion or the entry of this Sale Order in accordance with the

Bidding Procedures Order, or who withdrew their objections thereto, are deemed to have consented

to the relief granted herein for all purposes, including, without limitation, pursuant to

section 363(f)(2) of the Bankruptcy Code.

         APPROVAL OF ASSET PURCHASE AGREEMENT; BINDING NATURE

        4.       The Asset Purchase Agreement and the other Transaction Documents, and all of

the terms and conditions thereof, are hereby approved as set forth herein, specifically including

the mutual releases set forth in Section 7.16 of the Asset Purchase Agreement, subject in all cases

to the terms thereof.



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        5.       The consideration provided by the Buyer for the Purchased Assets under the Asset

Purchase Agreement is fair and reasonable and shall be deemed for all purposes to constitute

reasonably equivalent value, fair value, and fair consideration under the Bankruptcy Code, the

Uniform Fraudulent Transfer Act, the Uniform Voidable Transactions Act, the Uniform

Fraudulent Conveyance Act, and any other applicable law, and the Transaction may not be avoided

or rejected by any personPerson, or costs or damages imposed or awarded against the Buyer, under

section 363(n) or any other provision of the Bankruptcy Code.

        6.       Pursuant to sections 105, 363, and 365 of the Bankruptcy Code, the Debtors are

authorized and empowered to, and shall, take any and all actions necessary or appropriate to

(i) consummate the Transaction pursuant to and in accordance with the terms and conditions of

the Asset Purchase Agreement and the other Transaction Documents and otherwise comply with

the terms of this Sale Order, and (ii) execute and deliver, perform under, consummate, implement,

and take any and all other acts or actions as may be reasonably necessary or appropriate to the

performance of their obligations as contemplated by the Asset Purchase Agreement and the other

Transaction Documents, in each case without further notice to or order of this Court. The

Transaction authorized herein shall immediately be of full force and effect.

        7.       In accordance with this Sale Order and subject to the terms of the Asset Purchase

Agreement, each of the following Debtor entities (i) JHO Intellectual Property Holdings, LLC; (ii)

JHO Real Estate Investment, LLC; (iii) Quash Seltzer, LLC; and (iv) Rainbow Unicorn Bev, LLC,

is authorized, but not directed, in its sole discretion, to (a) contribute and transfer all of its

respective right, title, and interest (free and clear of all Liabilities and Encumbrances other than

the Assumed Liabilities and Permitted Encumbrances or as set forth on Section 2.1 of the Seller

Disclosure Schedule in the Asset Purchase Agreement) in and to all of the assets (including any



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Purchased Assets) of or held by such Debtor entity to Debtor Vital Pharmaceuticals via a

contribution of such assets to Debtor Vital Pharmaceuticals and such contribution and transfer

shall be deemed to have occurred prior to the Closing, and/or (b) assign and transfer all of the

Liabilities of such Debtor entity (including any Assumed Liabilities) to Debtor Vital

Pharmaceuticals via an assignment and assumption of such Liabilities by Debtor Vital

Pharmaceuticals.

        8.       7.This Sale Order shall be binding in all respects upon the Debtors, their estates, all

creditors, all holders of equity interests in the Debtors, all holders of any Claim(s) (whether known

or unknown) against the Debtors, all holders of Interests (whether known or unknown) against, in

, or on , all or any portion of the Purchased Assets, all non-Debtor parties to the Assumed

Agreements and Assumed Real Property Leases, the Buyer, and all successors and assigns of the

foregoing, including, without limitation, any trustee, if any, subsequently appointed in these

Chapter 11 Cases or upon a conversion to Chapter 7 under the Bankruptcy Code of these Chapter

11 Cases, or, to the extent applicable, other plan fiduciaries, plan administrators, liquidating

trustees, or other estate representatives appointed or elected in the Debtors’ Chapter 11 Cases.

      TRANSFER OF ASSETS FREE AND CLEAR OF INTERESTS; INJUNCTION

        9.       8.Pursuant to sections 105(a), 363(b), 363(f), 365(a), 365(b), and 365(f) of the

Bankruptcy Code, the Debtors are authorized and directed to transfer the Purchased Assets,

including but not limited to the Assumed Agreements and Assumed Real Property Leases, to the

Buyer on the Closing Date in accordance with the Asset Purchase Agreement and the other

Transaction Documents. Upon and as of the Closing Date, such transfer shall constitute a legal,

valid, binding, and effective transfer of such Purchased Assets free and clear of all Interests of any

kind or nature whatsoever (except as expressly set forth in the Asset Purchase Agreement with

respect to Permitted Encumbrances and Assumed Liabilities) and shall vest the Buyer with all

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right, title, and interest to and in such Purchased Assets subject only to the Permitted

Encumbrances and Assumed Liabilities expressly set forth in the Asset Purchase Agreement. For

the avoidance of doubt, the transfer of the Purchased Assets by the Debtors to the Buyer pursuant

to the Asset Purchase Agreement and this Sale Order shall be free and clear of the Interests set

forth in Requirements 11, 16, 19, 20, 21, 22, 23, 26, and 34 of Schedule B, Part I of the Form Title

Commitment attached as Exhibit E hereto, including, without limitation, the Interests described

on the attached Exhibit D (Schedule of Interests).

        10.      9.All such Interests shall attach solely to the Sale Proceeds with the same validity,

priority, force, and effect that they now have as against the Purchased Assets, subject to any claims

and defenses the Debtors and their estates or any other Person or Entity may possess with respect

thereto. This Sale Order shall be effective as a determination that, on and as of the Closing, all

Interests of any kind or nature whatsoever (except for Assumed Liabilities and Permitted

Encumbrances) have been unconditionally released, discharged, and terminated in, on, or against

the Purchased Assets (but not the proceeds thereof). The provisions of this Sale Order authorizing

and approving the transfer of the Purchased Assets free and clear of Interests shall be self-

executing, and neither the Debtors nor the Buyer shall be required to execute or file releases,

termination statements, assignments, consents, or other instruments in order to effectuate,

consummate, and implement the provisions of this Sale Order.

        11.      10.Except as expressly permitted by the Asset Purchase Agreement or this Sale

Order, all entities and persons Persons holding Interests (other than Assumed Liabilities and

Permitted Encumbrances) are hereby forever barred, estopped, and permanently enjoined from

asserting their respective Interests against the Buyer, and each of its properties and assets,

including, without limitation, the Purchased Assets.



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        12.      11.On and after the Closing Date, the Buyer shall be authorized to execute and file

such documents, and to take all other actions as may be necessary, on behalf of each holder of an

Interest to release, discharge, and terminate such Interests in, on and against the Purchased Assets

(but not the proceeds thereof) as provided for herein, as such Interests may have been recorded or

may otherwise exist. On and after the Closing Date, and without limiting the foregoing, the Buyer

shall be authorized to file termination statements, mortgage releases, or lien terminations in any

required jurisdiction to remove any mortgage, record, notice filing, or financing statement recorded

to attach, perfect, or otherwise notice any Interest that is extinguished or otherwise released

pursuant to this Sale Order. This Sale Order constitutes authorization under all applicable

jurisdictions and versions of the Uniform Commercial Code (the “UCC”) and other applicable law

for the Buyer to file UCC and other applicable termination statements with respect to all security

interests in, liens on, or other Interests in the Purchased Assets.

        13.      12.On and after the Closing, the entities and persons Persons holding an Interest

(other than an Assumed Liability or Permitted Encumbrance expressly set forth in the Asset

Purchase Agreement) shall execute such documents and take all other actions as may be reasonably

necessary to release their respective Interests in the Purchased Assets (but not the proceeds

thereof), as such Interests may have been recorded or otherwise filed. The Buyer may, but shall

not be required to, file a certified copy of this Sale Order in any filing or recording office in any

federal, state, county, or other jurisdiction in which the Debtors are incorporated or has real or

personal property, or with any other appropriate clerk or recorded with any other appropriate

recorder, and such filing or recording shall be accepted and shall be sufficient to release, discharge,

and terminate any of the Interests as set forth in this Sale Order as of the Closing Date. All entities




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and persons Persons that are in possession of any portion of the Purchased Assets on the Closing

Date shall promptly surrender possession thereof to the Buyer at the Closing.

        14.       13.On and after the Closing Date, no holder of an Interest in or against the Debtors

or the Purchased Assets (other than Assumed Liabilities and Permitted Encumbrances) shall

interfere with the Buyer’s title to, or use and enjoyment of, the Purchased Assets based on or

related to such Interest.

        15.       14.The transfer of the Purchased Assets to the Buyer pursuant to the Asset Purchase

Agreement and the other Transaction Documents does not require any consents other than

specifically provided for in the Asset Purchase Agreement or as otherwise provided for herein.

        16.       Upon consummation of the Sale and the Closing Date, other than with respect to

payment of Cure Costs, all cash proceeds of the Sale (the “Sale Proceeds”) will be applied in the

following order:

           i.     First, the full amount necessary, currently estimated at $16 million, out of the Sale

                  Proceeds (the “Asserted Lien Amount”) to satisfy in full the liens and claims of

                  mechanics, repairmen, workmen, suppliers or materialmen liens (the “Asserted

                  Liens”) as set forth in Section 3.1(c) of the Asset Purchase Agreement, and initially

                  deposited into a segregated interest bearing account (the “Asserted Lien Escrow

                  Account”) to be held and disbursed pursuant to the terms set forth in paragraph 17

                  of this Sale Order;

          ii.     Second, an amount of Sale Proceeds equal to $8,000,000 shall be set aside in a

                  segregated account reserved for the payment of the WARN Act and other employee

                  liabilities described in Section 3.1(c) of the Asset Purchase Agreement, subject in

                  all respects to the terms thereof;



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         iii.     Third, an amount of Sale Proceeds equal to $1,000,000 to pay in full all principal

                  and interest under the loan agreements, financing agreements, or lease

                  arrangements with respect to the vehicles that constitute the Purchased Assets to

                  the extent outstanding as of the Closing in accordance with Section 7.22 of the

                  Asset Purchase Agreement;

          iv.     Fourth, an amount of Sale Proceeds equal to $20,000,000 (in respect of items

                  (a), (b), and (c) of the Carve-Out (as defined in paragraph 37 of the Final DIP

                  Order)) plus an estimate not to exceed $50,000 (in respect of items (d), (e), and (f)

                  of the Carve-Out), shall be deemed deposited into a Carve-Out Escrow (as defined

                  in paragraph 37 of the Final DIP Order), in full and complete satisfaction of any

                  obligations in connection with the Carve-Out as defined in the Final DIP Order, or

                  any other obligations (if any) of the DIP Agent, the DIP Lenders, the Pre-Petition

                  Agent or the Pre-Petition Lenders (each as defined in the Final DIP Order) in

                  respect of professional fees and expenses (and other Carve-Out obligations)

                  payable in connection with these Chapter 11 Cases and without for avoidance of

                  doubt the requirement of a Carve-Out Termination Notice or any other notice or

                  action;

          v.      Fifth, an amount equal to the sum of (A) $287,000,000, less (B) any unfunded

                  portion of the commitments under the DIP Facility at such time, plus (C) an amount

                  equal to the unreimbursed professional fees and expenses of the DIP Agent accrued

                  through the Closing Date, less (D) an amount equal to the aggregate amount of

                  interest accrued in respect of the DIP Facility that the Debtors pay to the DIP Agent

                  during the period from June 6, 2023 through the Closing Date, if any, to the



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                  outstanding obligations under the DIP Facility (to be applied in accordance with

                  the DIP Facility or as otherwise determined by the Administrative Agent under the

                  DIP Facility and otherwise permitted under applicable law (the “DIP Partial

                  Payoff”)); and

          vi.     Sixth, the remainder of the Sale Proceeds shall be deposited into a segregated

                  interest-bearing account (the “Sale Proceeds Account”) to fund expenses of the

                  Debtors’ estates in the ordinary course, or to make such other distributions to

                  creditors as may be authorized by further Court order.

        15.Upon consummation of the Sale and the Closing Date, other than with respect to

payment of Cure Costs and the payment in full of the outstanding obligations under the DIP

Facility and the Prepetition Obligations (as such term is defined in the Final DIP Order), all cash

proceeds of the Sale (the “Sale Proceeds”) (other than those required to be held in escrow pursuant

to the terms of this Sale Order (if any) (the “Escrowed Amounts”)) will be placed into a segregated,

interest-bearing account established and maintained by the Debtors and will remain in that account

until further order of this Court, which order, for the avoidance of doubt, may be the order

confirming a chapter 11 plan for the Debtors. Reasonable notice of any request for the release of

Sale Proceeds from such segregated account the Sale Proceeds Account or the Asserted Lien

Escrow Account shall be filed with this Court and given to the Debtors and all parties in interest

asserting a Claim to, or Interest in, the Sale Proceeds and the rights of the Debtors and all parties

in interest to object to the release of all or any part of the Sale Proceeds from the segregated account

Sale Proceeds Account or the Asserted Lien Escrow Account is hereby fully preserved. To the

extent the Debtors are entitled to any Escrowed Amounts released from escrow, such released

Escrowed Amounts shall be Sale Proceeds for all purposes hereunder and shall be placed in the



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segregated, interest-bearing account referenced in the prior sentence pending further order of this

Court. All Claims and Interests will attach to the Sale Proceeds to the same extent and with the

same priority as existed immediately prior to consummation of the Sale, subject to any claims,

defenses and objections, if any, that the Debtors, their estates, or any other party in interest may

possess with respect thereto; provided that the foregoing does not alter or impair any parties’ rights

provided under the Final DIP Order . (except as specifically provided above).

        17.      Notwithstanding anything in this Sale Order or the Asset Purchase Agreement to

the contrary, Sale Proceeds in an amount equal to the Asserted Lien Amount shall be placed in the

Asserted Lien Escrow Account as soon as reasonably practicable after receipt of the Sale Proceeds

and shall remain in the Asserted Lien Escrow Account pending further order of the Court or

agreement between the Debtors and Stellar Group, Inc. Any property transferred to the Buyer

pursuant to the Sale that is subject to the Asserted Liens shall pass free and clear of all Interests

notwithstanding the Asserted Liens. For the avoidance of doubt, to the extent that the Asserted

Liens are deemed valid by order of the Court or agreement between the Debtors and Stellar Group,

Inc., such liens shall attach solely to the funds in the Asserted Lien Escrow Account.

        18.      16.On the Closing Date, this Sale Order shall be construed and shall constitute for

any and all purposes a full and complete general assignment, conveyance, and transfer to the Buyer

of the Purchased Assets and the Debtors’ interests in the Purchased Assets acquired by the Buyer

under the Asset Purchase Agreement. This Sale Order is and shall be effective as a determination

that, on the Closing Date, all Interests of any kind or nature whatsoever existing as to the Purchased

Assets prior to the Closing Date (other than Assumed Liabilities and Permitted Encumbrances),

shall have been unconditionally released, discharged, and terminated to the fullest extent permitted

by applicable law, and that the conveyances described herein have been effected.



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        19.      17.This Sale Order is and shall be binding upon and govern the acts of all persons

and entities Persons (including, without limitation, all filing agents, filing officers, title agents, title

companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

agencies, governmental departments, secretaries of state, and federal, state, and local officials)

who may be required by operation of law, the duties of their office, or contract to accept, file,

register, or otherwise record or release any documents or instruments, or who may be required to

report or insure any title or state of title in or to any lease. Each of the foregoing persons and

entities Persons shall accept for filing any and all of the documents and instruments necessary and

appropriate to release, discharge, and terminate any of the Interests or to otherwise consummate

the Transaction contemplated by this Sale Order, the Asset Purchase Agreement, or any

Transaction Document.

                  ASSIGNED CONTRACTSASSUMED AGREEMENTS AND
                 ASSUMED REAL PROPERTY LEASES; CURE PAYMENTS

        20.      18.Pursuant to sections 105(a), 363, and 365 of the Bankruptcy Code, and subject

to and conditioned upon the Closing Date, the Debtors’ assumption, assignment, and transfer to

the Buyer of the Assigned Contracts Assumed Agreements and Assumed Real Property Leases is

hereby authorized and approved in full subject to the terms set forth below.

        21.      19.Upon and as of the Closing, the Debtors are authorized and empowered to, and

shall, assume, assign, and/or transfer each of the Assumed Agreements and Assumed Real

Property Leases to the Buyer free and clear of all Interests (except as expressly set forth in the

Asset Purchase Agreement with respect to Permitted Encumbrances and Assumed Liabilities).

The payment of the applicable Cure Costs (if any), or--with or—with respect to any disputed Cure

Costs--the Costs—the reservation by the Debtors (or the Buyer on behalf of the Debtors) of an

amount of cash that is equal to the lesser of (i) the amount of any cure or other compensation


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asserted by the applicable counterparty to such Assumed Agreement or Assumed Real Property

Lease as required under section 365 of the Bankruptcy Code , or (ii) the amount approved by order

of this Court to reserve for such payment (such lesser amount, the “Alleged Cure Claim”) shall,

pursuant to section 365 of the Bankruptcy Code and other applicable law, (a) effect a cure, or

provide adequate assurance of cure, of all defaults existing thereunder as of the Closing Date , and

(b) compensate, or provide adequate assurance of compensation, for any actual pecuniary loss to

such non-Debtor party resulting from such default. Accordingly, on and as of the Closing Date,

other than such payment or reservation, neither the Debtors nor the Buyer shall have any further

liabilities or obligations to the non-Debtor counterparties to the Assumed Agreements and

Assumed Real Property Leases with respect to, and the non-Debtor counterparties to the Assumed

Agreements and Assumed Real Property Leases shall be forever barred, estopped, and

permanently enjoined from seeking, any additional amounts or Claims that arose, accrued, or were

incurred at any time on or prior to the Closing Date on account of the Debtors’ cure or

compensation obligations arising under section 365 of the Bankruptcy Code. Notwithstanding

anything to the contrary in the Motion, the Asset Purchase Agreement, or this Sale Order, from

and after the assumption and assignment of such Assumed Agreements and Assumed Real

Property Leases after the Closing, the Buyer shall comply with the terms of each Assumed

Agreement and Assumed Real Property Lease. The Buyer has provided adequate assurance of

future performance under the relevant Assumed Agreements and Assumed Real Property Leases

within the meaning of section 365(f) of the Bankruptcy Code.

        22.      20.To the extent any provision in any Assumed Agreement or Assumed Real

Property Lease assumed or assumed and assigned (as applicable) pursuant to this Sale Order

(including, without limitation, any “change of control” provision) (ai) prohibits, restricts, or



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conditions, or purports to prohibit, restrict, or condition, such assumption or assignment , or (bii)

is modified, breached, or terminated, or deemed modified, breached, or terminated by any of the

following: (ia) the commencement of these Chapter 11 Cases, (ii; (b) the insolvency or financial

condition of the Debtors at any time before the closing of these Chapter 11 Cases, (iii; (c) the

Debtors’ assumption or assumption and assignment (as applicable) of such Assumed Agreement

or Assumed Real Property Lease , ; or (ivd) the consummation of the Transaction, then such

provision shall be deemed modified so as to not entitle the non-Debtor counterparty thereto to

prohibit, restrict, or condition such assumption or assignment, to modify or terminate such

Assumed Agreement or Assumed Real Property Lease, or to exercise any other default-related

rights or remedies with respect thereto, including, without limitation, any such provision that

purports to allow the non-Debtor counterparty thereto to recapture such Assumed Agreements and

Assumed Real Property Leases, impose any penalty thereunder, condition any renewal or

extension thereof, impose any rent acceleration or assignment fee, or increase or otherwise impose

any other fees or other charges in connection therewith.           All such provisions constitute

unenforceable anti-assignment provisions that are void ab initio and of no force and effect pursuant

to sections 365(b), 365(e), and 365(f) of the Bankruptcy Code; provided, however, this paragraph

22 shall only apply to the assumption and assignment of the Assumed Agreements and Assumed

Real Property Leases effectuated as part of the Sale and nothing in this Sale Order shall permit any

further or other assignment, assignment and assumption, or other transfer of any Assumed

Agreements or Assumed Real Property Leases except as expressly permitted under and in

accordance with the terms of such Assumed Agreements and Assumed Real Property Leases.

        23.      21.All requirements and conditions under sections 363 and 365 of the Bankruptcy

Code for the assumption by the Debtors and assignment to the Buyer of the Assumed Agreements



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and Assumed Real Property Leases have been satisfied. Upon the Closing, in accordance with

sections 363 and 365 of the Bankruptcy Code, the Buyer shall be fully and irrevocably vested with

all right, title, and interest of the Debtors in and under the Assumed Agreements and Assumed

Real Property Leases free and clear of any Interest (other than Permitted Encumbrances and

Assumed Liabilities as provided for in the Asset Purchase Agreement), and each Assumed

Agreement or Assumed Real Property Lease shall be fully enforceable by the Buyer in accordance

with its respective terms and conditions, except as limited or modified by the provisions of this

Sale Order. Upon and as of the Closing, the Buyer shall be deemed to be substituted for the

Debtors as a party to the applicable Assumed Agreements and Assumed Real Property Leases and,

accordingly, the Debtors shall be relieved, pursuant to section 365(k) of the Bankruptcy Code,

from any further liability under the Assumed Agreements and Assumed Real Property Leases. The

Buyer shall have no liability arising or accruing under the Assumed Agreements and Assumed

Real Property Leases on or prior to the Closing Date, except as otherwise expressly provided in

the Asset Purchase Agreement or this Sale Order.

        24.      22.To the extent a non-Debtor counterparty to a Assumed Agreement or Assumed

Real Property Lease failed to timely object to a Cure Cost in accordance with the Bidding

Procedures Order and Assumption Notice, such Cure Cost shall be deemed to be finally determined

and any such non-Debtor counterparty shall be prohibited from challenging, objecting to, or

denying the validity and finality of the Cure Cost at any time, and such Cure Cost, when paid, shall

be deemed to resolve any defaults or other breaches with respect to any Assumed Agreement or

Assumed Real Property Lease to which it relates. Unless as otherwise set forth in this Sale Order

or the Asset Purchase Agreement, the non-Debtor counterparties to the Assumed Agreements and

Assumed Real Property Leases are barred from asserting against the Debtors, their estates, and the



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Buyer, any default or unpaid obligation allegedly arising or occurring before the Closing Date, any

pecuniary loss resulting from such default, or any other obligation under the Assumed Agreements

and Assumed Real Property Leases arising or incurred prior to the Closing Date, other than the

applicable Cure Costs. Upon the payment of the applicable Cure Costs or the reservation of the

Alleged Cure Claims, if any, the Assumed Agreements and Assumed Real Property Leases will

remain in full force and effect, and no default shall exist, or be deemed to exist, under the Assumed

Agreements and Assumed Real Property Leases as of the Closing Date nor shall there exist, or be

deemed to exist, any event or condition which, with the passage of time or giving of notice, or

both, would constitute such a default.

        25.      23.All counterparties to the Assumed Agreements and Assumed Real Property

Leases shall be deemed to have consented to such assumption and assignment under

section 365(c)(1)(B) of the Bankruptcy Code and the Buyer shall enjoy all of the Debtors’ rights,

benefits, and privileges under each such Assigned Contract Assumed Agreement and Assumed

Real Property Lease as of the applicable date of assumption and assignment without the necessity

to obtain any non-Debtor parties’ written consent to the assumption or assignment thereof.

        26.      24.Upon payment of the Cure Costs, no default or other obligations arising prior to

the Closing Date shall exist under any Assumed Agreement or Assumed Real Property Lease, and

, except as otherwise set forth in this Sale Order, each non-Debtor party is forever barred and

estopped from : (i) declaring a default by the Debtors or the Buyer under such Assumed Agreement

or Assumed Real Property Lease, ; (ii) raising or asserting against the Debtors or the Buyer, or the

property of either of them, any assignment fee, default, breach, or claim of pecuniary loss, or

condition to assignment, arising under or related to the Assumed Agreements and Assumed Real

Property Leases, ; or (iii) taking any other action against the Buyer as a result of any Debtor’s



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financial condition, bankruptcy, or failure to perform any of its obligations under the relevant

Assumed Agreement or Assumed Real Property Lease, in each case in connection with the Sale.

Each Except as otherwise set forth in this Sale Order, each non-Debtor counterparty is also forever

barred and estopped from raising or asserting against the Buyer any assignment fee, default,

breach, Claim, pecuniary loss, or condition to assignment arising under or related to the Assumed

Agreements and Assumed Real Property Leases existing as of the Closing Date or arising by

reason of the closing Closing of the Sale other than the Cure Costs.

        27.      25.Nothing in this Sale Order, the Motion, or in any notice or any other document

is or shall be deemed an admission by the Debtors that any Assumed Agreement or Assumed Real

Property Lease is an executory contract or unexpired lease under section 365 of the Bankruptcy

Code. Individual purchase orders issued by vendors with whom the Debtors have master supply

agreements shall not be deemed to constitute one and the same contract as the master supply

agreement. The Debtors may assume and assign to the Buyer a vendor’s master supply agreement

without assuming and assigning or paying claims arising under individual purchase orders issued

by such vendor, and such claims shall not constitute Cure Costs under the master supply

agreement.

        28.      26.The failure of the Debtors or the Buyer , or any non-Debtor party to enforce at

any time one or more terms or conditions of any Assumed Agreement or Assumed Real Property

Lease shall not be a waiver of such terms or conditions or of their respective rights to enforce every

term and condition of the Assumed Agreements and Assumed Real Property Leases.

                 ADDITIONAL INJUNCTION; NO SUCCESSOR LIABILITY

        29.      27.Effective upon the Closing Date and except as expressly set forth in the Asset

Purchase Agreement with respect to Permitted Encumbrances and Assumed Liabilities, all Persons

and Entities are forever barred, estopped, and permanently enjoined from asserting against the

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Buyer any Interest of any kind or nature whatsoever such person Person had, has, or may have

against or in the Debtors, their estates, officers, directors, managers, shareholders, 9or the

Purchased Assets, including, without limitation, the following actions: (i) commencing or

continuing in any manner any action or other proceeding, the employment of process, or any act

(whether in law or equity, in any judicial, administrative, arbitral, or other proceeding) to collect

or recover any Interest; (ii) enforcing, attaching, collecting, or recovering in any manner any

judgment, award, decree, or order with respect to an Interest; (iii) creating, perfecting, or enforcing

any Interest; (iv) asserting any right of subrogation, setoff or recoupment of any kind with respect

to an Interest (except if such right was asserted before the Petition Date, or preserved in a timely

filed proof of claim or motion filed with the Court); (v) commencing or continuing any action in

any manner or place, that does not comply with or is inconsistent with the provisions of this Sale

Order, other orders of this Court, the Asset Purchase Agreement, the other Transaction Documents,

or any other agreements or actions contemplated or taken in respect thereof; or (vi) revoking,

terminating, failing, or refusing to transfer or renew any license, permit, or authorization to operate

any of the Purchased Assets or conduct any of the businesses operated with the Purchased Assets

in connection with the Sale, in each case of (i) through (vi), as against the Buyer, or any of its

affiliates or subsidiaries, or any of their respective representativesRepresentatives, or any of its or

their respective property or assets, including the Purchased Assets; provided that, notwithstanding

the foregoing, the Buyer may be, and the arguments of the Debtors and the Buyer are preserved as

to whether, Buyer is in privity with Debtors for purposes of res judicata analyses.




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    For the avoidance of doubt, nothing in this Sale Order shall bar, estop, or permanently enjoin the Debtors or their
    estates from asserting any causes of action directly against the Debtors’ current and former officers, directors,
    managers, or shareholders.

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        30.      28.To the greatest extent available under applicable law, the Buyer shall be

authorized, as of the Closing Date, to operate under any license, permit, registration, and

governmental authorization or approval of the Debtors with respect to the Purchased Assets, and

all such licenses, permits, registrations, and governmental authorizations and approvals are

deemed to have been, and hereby are, deemed to be transferred to the Buyer as of the Closing Date.

        31.      29.To the extent provided by section 525 of the Bankruptcy Code, no governmental

unit may revoke or suspend any grant, permit, or license relating to the operation of the Purchased

Assets sold, transferred, assigned, or conveyed to the Buyer on account of the filing or pendency

of these Chapter 11 Cases or the consummation of the Sale. Each and every federal, state, and

local governmental agency or department is hereby authorized and directed to accept any and all

documents and instruments necessary and appropriate to consummate the Sale set forth in the

Asset Purchase Agreement.

        32.      30.Subject to the terms, conditions, and provisions of this Sale Order, all entities

and persons Persons are hereby forever prohibited and barred from taking any action that would

adversely affect or interfere (i) with the ability of the Debtors to sell and transfer the Purchased

Assets to Buyer in accordance with the terms of the Asset Purchase Agreement (subject to the

Permitted Encumbrances and Assumed Liabilities) and this Sale Order, and (ii) with the ability of

the Buyer to acquire, take possession of, use and operate the Purchased Assets in accordance with

the terms of the Asset Purchase Agreement and this Sale Order.

        33.      31.The Buyer shall not be deemed, as a result of any action taken in connection

with the Transaction contemplated by the Asset Purchase Agreement or the Transaction

Documents, to: (i) to be a successor to the Debtors or their estates, ; (ii) to have, de facto or

otherwise, merged or consolidated with or into the Debtors or their estates, ; (iii) to be a



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continuation or substantial continuation of the Debtors or any enterprise of the Debtors, ; (iv) to

have a common identity with the Debtors, ; (v) to have acquired the trade or business of any of the

Debtors for any purpose under applicable U.S. federal law (including the Bankruptcy Code and

the Internal Revenue Code of 1986, as amended), ; or (vi) to be held out to the public as a

continuation of the Debtors or the Debtors’ trade or business; provided that, notwithstanding the

foregoing, the Buyer may be, and the arguments of the Debtors and the Buyer are preserved as to

whether, Buyer is in privity with Debtors for purposes of res judicata analyses.

        34.      32.Except as expressly set forth in the Asset Purchase Agreement or this Sale Order

with respect to Assumed Liabilities or Permitted Encumbrances, the transfer of the Purchased

Assets, including, without limitation, the assumption, assignment, and transfer of any Assumed

Agreement and Assumed Real Property Lease, to the Buyer shall not cause or result in, or be

deemed to cause or result in, the Buyer, any of its affiliates or subsidiaries, or any of their

respective representatives, having any liability, obligation, or responsibility for, or any Purchased

Assets being subject to or being recourse for, any Interest whatsoever, whether arising under any

doctrines of successor, transferee, or vicarious liability or any kind or character, including, but not

limited to, under any theory of foreign, federal, state, or local antitrust, environmental, successor,

tax, ERISA, assignee, or transferee liability, labor, product liability, employment, de facto merger,

substantial continuity, or other law, rule, or regulation, whether known or unknown as of the

Closing Date, now existing or hereafter arising, whether asserted or unasserted, fixed or

contingent, liquidated or unliquidated with respect to the Debtors or any obligations of the Debtors

arising prior to the Closing Date, breach of fiduciary duty, aiding or abetting breach of fiduciary

duty, or otherwise, whether at law or in equity, directly or indirectly, and whether by payment or

otherwise. The Buyer shall not be deemed to have expressly or implicitly assumed any of the



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Debtors’ liabilities (other than a Permitted Encumbrance or Assumed Liability expressly set forth

in the Asset Purchase Agreement). Except as otherwise provided herein or in the Asset Purchase

Agreement, the transfer of the Purchased Assets to the Buyer pursuant to the Asset Purchase

Agreement shall not result in the Buyer or the Purchased Assets having any liability or

responsibility for, or being required to satisfy in any manner, whether in law or in equity, whether

by payment, setoff, or otherwise, directly or indirectly, any claim against the Debtors or against

any insider of the Debtors or Interests (other than Assumed Liabilities or Permitted

Encumbrances).

                                         GOOD FAITH

        35.      The Transaction contemplated by this Sale Order, the Asset Purchase Agreement,

and the other Transaction Documents is undertaken by the Buyer without collusion and in good

faith, as that term is defined in section 363(m) of the Bankruptcy Code, and accordingly, the

reversal or modification on appeal of the authorization provided herein to consummate the Sale

and Transaction shall not alter, affect, limit, or otherwise impair the validity of the Sale or

Transaction (including the assumption, assignment, and/or transfer of the Assumed Agreements

and Assumed Real Property Leases), except for so long as such authorization and consummation

are duly stayed pending such appeal. The Buyer is a good faith purchaser within the meaning of

section 363(m) of the Bankruptcy Code and, as such, is entitled to, and is hereby granted, the full

rights, benefits, privileges, and protections of section 363(m) of the Bankruptcy Code. The Buyer

is also not an “insider” of any Debtor, as that term is defined in the Bankruptcy Code.

                         OBLIGATIONS OF THE BACK-UP BIDDER

        34.      The Back-Up Bid is hereby approved and is deemed open and irrevocable until the

Closing of the Asset Purchase Agreement. If the Buyer fails to consummate the Sale because of



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its failure to perform, the Debtors shall be authorized to consummate the Sale with the Back-Up

Bidder subject to the procedures set forth in the Bidding Procedures Order.

         35.     In the event that the Debtors consummate the Sale with the Back-Up Bidder as set

forth herein, the Back-Up Bidder shall have the same protections as the Buyer as set forth in this

Sale Order and shall acquire the Purchased Assets and assume liabilities in accordance with the

Back-Up Bid and this Sale Order subject to the procedures set forth in the Bidding Procedures

Order.

           OTHER PROVISIONS AND RESOLUTIONS OF SALE OBJECTIONS

         36.     Pursuant to Bankruptcy Rules 6004(h), 6006(d), 7062, and 9014, this Sale Order

shall not be stayed after the entry hereof, but shall be effective and enforceable immediately upon

entry, and the stay provisions provided for in Bankruptcy Rules 6004(h) and 6006(d) are hereby

expressly waived and shall not apply. Accordingly, the Debtors are authorized and empowered to

close the Sale and Transaction immediately upon entry of this Sale Order.In the absence of any

Person obtaining a stay pending appeal, the Debtors and the Buyer are free to close the Transaction

under the Asset Purchase Agreement at any time pursuant to the terms thereof.

         37.     The Buyer shall not be required, pursuant to section 365(l) of the Bankruptcy Code

or otherwise, to provide any additional deposit or security with respect to any of the Assumed

Agreements and Assumed Real Property Leases to the extent not previously provided by the

Debtors.

         38.     Neither the Buyer nor the Debtors shall have an obligation to close the Transaction

until all conditions precedent in the Asset Purchase Agreement to each of their respective

obligations to close the Transaction have been met, satisfied, or waived in accordance with the

terms of the Asset Purchase Agreement. The provisions of this Sale Order are self-executing. In

the absence of any Person obtaining a stay pending appeal, the Debtors and the Buyer are free to

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close the Transaction under the Asset Purchase Agreement at any time pursuant to the terms

thereof. The Transaction contemplated by the Asset Purchase Agreement is undertaken by the

Buyer in good faith, as that term is used in section 363(m) of the Bankruptcy Code, and

accordingly, the reversal or modification on appeal of the authorization provided herein to

consummate the Transaction shall not affect the validity of the sale of the Purchased Assets to the

Buyer (including the assumption and assignment by the Debtors of any of the Assumed

Agreements and Assumed Real Property Leases), except for so long as such authorization is duly

stayed pending such appeal. The Buyer is a buyer in good faith of the Purchased Assets, and is

entitled to all of the protections afforded by section 363(m) of the Bankruptcy Code.

        39.      Nothing in this Sale Order shall modify or waive any closing conditions or

termination rights set forth in the Asset Purchase Agreement, and all such conditions and rights

shall remain in full force and effect in accordance with their terms.

        40.      No bulk sales law or any similar law of any state or other jurisdiction applies in any

way to the Transaction.

        41.      The failure to specifically include any particular provision of the Asset Purchase

Agreement in this Sale Order shall not diminish or impair the effectiveness of such provision, it

being the intent of this Court that the Asset Purchase Agreement be authorized and approved in its

entirety.

        42.      The Asset Purchase Agreement and the other Transaction Documents may be

modified, amended, or supplemented in a writing signed by the parties thereto, provided that any

such modification, amendment, or supplement does not have a material adverse effect on the

Debtors’ estates or their creditors, without further notice to or order of this Court.            Any




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modifications, amendments or supplements having a material adverse effect on the Debtors’

estates or their creditors shall be subject to the approval of this Court after notice and a hearing.

        43.      Broward County. To the extent that Broward County, Florida (“Broward County”),

has valid, perfected, enforceable, senior and non-avoidable liens for 2023 property taxes and non-

ad valorem assessments arising under state law on any proceeds from the Transaction (the “2023

Broward County Liens”), proceeds shall be placed in a segregated account in the aggregate amount

of $125,965.61 as adequate protection for Broward County’s claims or used to pay Broward

County on account of such claims promptly following Closing. The 2023 Broward County Liens

shall attach to such proceeds to the same extent and with the same priority as the liens they now

hold against the property of the Debtors. Any funds placed in a segregated account shall be on the

order of adequate protection and shall constitute neither the allowance of the claims of Broward

County, nor a cap on the amounts they may be entitled to receive. Furthermore, the 2023 Broward

County Liens shall remain subject to any objections any party would otherwise be entitled to raise

as to the priority, validity or extent of such liens. Any funds segregated pursuant to this paragraph

may be distributed only upon agreement between Broward County and the Debtors, or by

subsequent order of the Court, duly noticed to Broward County.

        44.      Chubb. Notwithstanding anything to the contrary in the Motion, the Asset Purchase

Agreement, any lists of Assumed Agreements and Assumed Real Property Leases to be assumed

and assigned and/or any Assumption Notices, this Sale Order, or any documents relating to any of

the foregoing: nothing shall permit or otherwise effect a sale, an assignment, or any other transfer

of: (i) any insurance policies that have been issued by Federal Insurance Company, Great Northern

Insurance Company, Chubb Custom Insurance Company, Vigilant Insurance Company, and/or

any of their U.S.-based affiliates and successors (collectively, the “Chubb Companies”) and all



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agreements, documents or instruments relating thereto (collectively, the “Chubb Insurance

Contracts”); and/or (ii) any rights, proceeds, benefits, claims, rights to payments and/or recoveries

under such Chubb Insurance Contracts to the Buyer; provided, however, that to the extent any

claim with respect to the Purchased Assets arises that is covered by the Chubb Insurance Contracts,

the Debtors may pursue such claim in accordance with the terms of the Chubb Insurance Contracts,

and, if applicable, turn over to the Buyer any such insurance proceeds (each, a “Proceed

Turnover”), provided, further, however, that the Chubb Companies shall not have any duty to

effectuate a Proceed Turnover or liability related to a Proceed Turnover.

        45.      OBI/Monster Escrow Account.        The Order Granting Debtors’ and Creditors

Monster Energy Company and Orange Bang, Inc.’s Joint Agreed Motion to Approved Agreement

Regarding Royalty that Accrued Postpetition [ECF No. 639] (the “Royalty Order”) is modified

such that both the Debtors’ and Buyers’ obligations under the Royalty Order shall be deemed

satisfied following distribution of the OBI/Monster Escrow Amount (and if applicable, payment

of such amount from reserves from the Sale Proceeds established in accordance with this Sale

Order) in accordance with Section 7.19 of the Asset Purchase Agreement. For the avoidance of

doubt, upon Closing of the Transaction under the Asset Purchase Agreement and the satisfaction

of the terms of Section 7.19 of the Asset Purchase Agreement, the Debtors shall have no further

financial obligations to MEC or Orange Bang, Inc. with respect to the Postpetition Royalty (as

defined in the Royalty Order).

        46.      43.This Court retains jurisdiction, pursuant to its statutory powers under 28 U.S.C.

§ 157(b), to, among other things, : (i) interpret, implement, and enforce the terms and provisions

of this Sale Order, the Asset Purchase Agreement, the Transaction Documents, and any

amendments thereto and any waivers and consents given thereunder, ; (ii) compel delivery of the



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Purchased Assets to the Buyer, ; (iii) compel performance of obligations owed to the Debtors, ;

(iv) resolve any disputes related to the Transaction Documents, ; (v) compel delivery of any

waivers, releases, or other related documentation reasonably requested by the Debtors or the Buyer

to evidence the release of any Interests in the Purchased Assets, ; (vi) enforce the injunctions and

limitations of liability set forth in this Sale Order, ; and (vii) enter any orders under sections 363

and 365 of the Bankruptcy Code with respect to the Assumed Agreements and Assumed Real

Property Leases.

        47.      44.All time periods set forth in this Sale Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).

        45.      Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), this Sale Order shall be

effective and enforceable immediately upon entry and its provisions shall be self-executing. In the

absence of any Person or Entity obtaining a stay pending appeal, the Debtors and the Buyer are

free to close the Transaction under the Asset Purchase Agreement at any time pursuant to the terms

thereof. The Transaction contemplated by the Asset Purchase Agreement is undertaken by the

Buyer in good faith, as that term is used in section 363(m) of the Bankruptcy Code, and

accordingly, the reversal or modification on appeal of the authorization provided herein to

consummate the Transaction shall not affect the validity of the sale of the Purchased Assets to the

Buyer (including the assumption and assignment by the Debtors of any of the Assumed

Agreements and Assumed Real Property Leases), except for so long as such authorization is duly

stayed pending such appeal. The Buyer is a buyer in good faith of the Purchased Assets, and is

entitled to all of the protections afforded by section 363(m) of the Bankruptcy Code.

        48.      46.The Consistent with the terms of the Asset Purchase Agreement, the Debtors are

authorized to change their legal names, and file any necessary documents to effectuate such name



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changes, without further order of the Court. The Debtors shall file a motion to correct the debtor’s

name pursuant to Local Rule 1009-1(B).

        49.      47.Nothing contained in any plan of reorganization or liquidation, or order of any

type or kind entered in (ai) these Chapter 11 Cases, (bii) any subsequent chapter 7 case into which

these Chapter 11 Cases may be converted, or (ciii) any related proceeding subsequent to entry of

this Sale Order, shall conflict with or derogate from the provisions of the Asset Purchase

Agreement or the terms of this Sale Order. To the extent of any such conflict or derogation, the

terms of this Sale Order shall govern.

        50.      48.To the extent that this Sale Order is inconsistent with any prior order or pleading

with respect to the Motion, the terms of this Sale Order shall govern.

        51.      49.To the extent there are any inconsistencies between the terms of this Sale Order,

on the one hand, and the Asset Purchase Agreement or any Transaction Document, on the other

hand, the terms of this Sale Order shall govern.

        52.      50.The provisions of this Sale Order are non-severable and mutually dependent.




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                                    EXHIBIT A

                             Asset Purchase Agreement




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                                      EXHIBIT B

                                 Schedule of Cure Costs




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                                              EXHIBIT C

                                       Adjourned Objections

                  Objector [ECF No.]                                      Status

                                            Formal Objections
 SLBS Limited Partnership
 d/b/a Summit Distributing                                  Adjourned to a date to be determined
 [ECF No. 1054]
 Archer Daniels Midland Company, ADM Wild
 Europe GmbH & Co. KG and Wild Flavors                      Adjourned to a date to be determined
 [ECF No. 1040]
 LPUSA, LLC, d/b/a Network
                                                            Adjourned to a date to be determined
 [ECF No. 1074]
 Doehler USA Inc.
                                                            Adjourned to a date to be determined
 [ECF No. 1087]
 Ally Bank
                                                            Adjourned to a date to be determined
 [ECF No. 1090]
 Ardagh Metal Packaging USA Corp
                                                            Adjourned to a date to be determined
 [ECF No 1101]
 Graphic Packaging International
                                                            Adjourned to a date to be determined
 [ECF Nos. 1102 & 1480]
 Fona International, Inc.
                                                            Adjourned to a date to be determined
 [ECF No. 1106]
 Prologis Targeted US Logistics Fund L.P.
                                                            Adjourned to a date to be determined
 [ECF No. 1108]
 Ball Metal Beverage Container Corp
                                                            Adjourned to a date to be determined
 [ECF No. 1110]

                                        Informal Objections

 Krones Inc.                                                Adjourned to a date to be determined




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                                                 EXHIBIT D7

                       Schedule of Interests Affecting Real Property Located at:
                          1635 S. 43rd Ave., Phoenix, Maricopa County, AZ

11. Deed of Trust, Assignment of Leases and Rents, Security Agreement and Fixture Filing
      Amount:         $541,400,000.00
      Dated:         December 3, 2020
      Grantor:       JHO Real Estate Investment, LLC, a Florida limited liability company
      Trustee:              Stewart Title & Trust of Phoenix, Inc., a Delaware corporation
      Beneficiary: Truist Bank, as Administrative Agent
      Recording Date: December 14, 2020
      Recording No.:        20201230181

16. Mechanic’s Lien
      Claimant:     Nexus Steel, L.L.C.
      Amount:       $313,512.91
      Recording Date: January 20, 2022
      Recording No.:       20220060823

19. Mechanic’s Lien
      Claimant:     Hardrock Concrete Placement Co., Inc.
      Amount:       $669,195.67
      Recording Date:      March 22, 2022
      Recording No.:       20220257254

20. Mechanic’s Lien
      Claimant:     Stellar Group, Inc.
      Amount:       $7,722,974.37
      Recording Date: March 23, 2022
      Recording No.:        20220259809

21. Mechanic’s Lien
      Claimant:     Faith Technologies Incorporated, a Wisconsin corporation
      Amount:       $807,781.00
      Recording Date: March 24, 2022
      Recording No.:       20220266675

22. Mechanic’s Lien
      Claimant:     Faith Technologies Incorporated, a Wisconsin corporation
      Amount:       $2,777,007.15
      Recording Date: March 24, 2022
      Recording No.:       20220266676


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    Number references in this Exhibit are to Schedule B, Part I, of Chicago Title commitment no. CT349230039 Dated
    May 23, 2023, attached as Exhibit E hereto.


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23. Mechanic’s Lien
      Claimant:     HACI Mechanical Contractors, Inc.
      Amount:       $224,126.00
      Recording Date:      April 22, 2022
      Recording No.:       20220357919

26. Notices of Lis Pendens
      Court:          Superior Court of Maricopa County, AZ
      Case No.:       CV2022-008873
      Plaintiff:      Nexus Steel, LLC
      Defendant:      JHO Real Estate Investment, LLC, et al.
      Recording Dates and Recording Nos.:          July 13, 2022, Recording No. 20220570741
                                           August 10, 2022, Recording No. 20220633035
                                           August 25, 2022, Recording No. 20220667523
                                           September 21, 2022, Recording No. 20220726494
                                           October 3, 2022, Recording No. 20220753033
                                           October 21, 2022, Recording No. 20220791939

31. Any lien, or right to a lien, for services, labor, materials or equipment whether or not shown
by the public records.

34. Mechanic’s Lien
      Claimant:     CM Builders, Inc., d/b/a Integrated Masonry
      Amount:       $145,637.30
      Recording Date:      April 4, 2022
      Recording No.:       20220297171
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                                        EXHIBIT E

                       Schedule B, Part I of Chicago Title Commitment




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